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                   2.   In summary, Defendants made material misrepresentations to induce

Plaintiffs to sell Tradescape (which, according to a national magazine, was considered one of the

“Top 50 Private Companies in the World” in 2001) to E*Trade and not to E*Trade’s competitors

or the other parties that were interested in an acquisition. Defendants then sought to avoid

paying for these newly-acquired companies by disregarding their contractual commitments to

Plaintiffs; threatening economic and even physical harm, and criminal prosecution to extort

onerous and unconscionable concessions from Plaintiffs notwithstanding Plaintiffs’ contractual

rights; defaming T Corp’s 29 year old founder and CEO, Omar Amanat, and through this and

other illegal methods interfering with Plaintiffs’ ability to enter into crucial loans and other types

of transactions; converting Plaintiffs’ property, including by preventing Plaintiffs from accessing

technology crucial to operating the MarketXT business; improperly terminating Mr. Amanat’s

employment with E*Trade; and the catalogue of wrongdoing goes on and is discussed in greater

detail below.

                   3.   The focus of all this misconduct involves T Corp’s Momentum and

MarketXT subsidiaries. At the time of the merger Momentum was, according to a Robertson

Stephens research report, the fifth largest electronic brokerage firm in the United States and the

largest active trading firm in the industry with over 20 branch offices nationwide. Momentum

also provided high-speed direct-access trading technologies to retail customers and was

responsible for roughly 8% of the Nasdaq’s daily volume.            It generated 2001 revenues of

approximately $121 million and 2000 revenues of approximately $140 million.

                   4.   MarketXT is the only T Corp subsidiary that was not conveyed to

E*Trade.      MarketXT is an Electronic Communications Network (“ECN”), or quasi-stock

exchange, one of nine such entities approved by the Securities and Exchange Commission

(“SEC”) to automatically match buy and sell orders for the electronic execution of stock trades.


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MarketXT’s customers consisted primarily of institutional investors and broker-dealers,

including Merrill Lynch, CS First Boston, Salomon Smith Barney, and Morgan Stanley. At the

time of the merger, MarketXT was the second or third largest ECN, and was responsible for 10%

of all share volume executed on Nasdaq.           MarketXT provided its customers, including

Momentum, with rebates for placing buy or sell orders on MarketXT. Because Momentum

customers executed many trades on MarketXT, the rebates paid by MarketXT provided a

significant portion of Momentum’s revenues. Moreover, because of this symbiotic relationship

whereby traders using Momentum executed a significant volume of transactions on MarketXT

(and Momentum received rebates in return), and E*Trade had promised to expand the

Momentum business following the merger, Plaintiffs falsely were led to believe that MarketXT

would increase its revenues as a result of the merger. In fact, E*Trade had suggested that it

would co-clear MarketXT’s trades to help reduce its overhead and expenses.

                   5.   Just the opposite occurred, as would prove to be the case with all of

Defendants’ representations: E*Trade and Softbank Finance Corporation (“Softbank”), a wholly

owned subsidiary of Softbank Corporation (“Softbank Corp.”), as well as senior management of

both companies (including the individuals named as defendants herein), conspired to

fraudulently induce T Corp to sell Tradescape to E*Trade, and then (through breach of contract,

threats of physical and economic harm, criminal prosecution, improper employment termination,

theft of property and defamation) deprive T Corp of the consideration due and owing under the

Merger Agreement. Defendants also engaged in this same type of egregious misconduct to put

MarketXT – a fierce and faster growing competitor to E*Trade’s partially owned ECN

subsidiary (Archipelago ), and a key source of revenue for Momentum – out of business.

                   6.   Softbank’s motivation to participate in this wrongdoing is self-evident and

boils down to greed: it sought to protect its $400 million investment in E*Trade. Softbank was


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a significant investor in both T Corp and E*Trade, having paid approximately $400 million for

27% of E*Trade’s outstanding common stock and only $26 million for 25% of T Corp.

Softbank also owned approximately 67% of E*Trade Japan, and had appointed representatives to

the Boards of Directors of both E*Trade and T Corp. Softbank’s outside counsel also attended

all meetings of T Corp’s Board of Directors during the relevant period. In addition, Softbank

owned almost all of T Corp’s outstanding preferred stock, and was a lender to T Corp secured by

a lien on T Corp’s intellectual property.

                   7.   By virtue of its substantial stock ownership, board membership and

control over T Corp’s intellectual property, Softbank effectively had the ability to veto any sale

or other transaction involving Tradescape. Notwithstanding the obvious conflict of interest

confronting Softbank given its relationship with E*Trade and T Corp and its independent duties

to each, Softbank did not abstain from decisions affecting the E*Trade- T Corp relationship. To

the contrary, it used its position of trust vis a vis T Corp to further the interests of E*Trade (and

thus advance Softbank’s own substantial investment in that company) to the severe detriment of

T Corp.

                   8.   In that regard, on April 10, 2002, E*Trade and T Corp executed a Merger

Agreement. As described in more detail below, the Agreement provided for E*Trade to acquire

Tradescape fo r approximately $280 million in E*Trade stock; $100 million of this amount was

payable immediately (subject to certain transfer restrictions), with the remainder payable as

“contingent compensation” as long as Momentum satisfied certain easily achievable revenue

targets for 2002 and 2003 (the “Earn-Out”).

                   9.   Plaintiffs reasonably believed that those targets were readily attainable by

Momentum because, in the period leading up to the execution of the Merger Agreement,

Tradescape was a highly successful and sought-after business in the rapidly consolidating on- line


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trading industry.        Tradescape’s bus inesses were so attractive because unlike most online

brokerage businesses, including the E*Trade online business – where volume (and thus

revenues) declined 40-50% from the previous year in the midst of a severe economic downturn –

Momentum’s volumes remained steady and robust because of its highly touted technology and

profitable customer niche (an E*Trade management presentation to the E*Trade Board

concluded that E*Trade “could pay up to $400 million for the Tradescape acquisition and still

have it be accretive to earnings”). Indeed, Barron’s recent rankings of the top online brokers

listed Power E*Trade Pro (which is based on the Lightspeed technology that E*Trade acquired

from T Corp in the merger) as propelling E*Trade to the highest ranking it has ever received in

the survey – second place among all online brokers.

                   10.     In late 2001, in the aftermath of the events of September 11th , T Corp

commenced an auction for the sale of Tradescape. Numerous strategic and financial buyers

immediately expressed interest in and conducted due diligence concerning an acquisition. Many

of these companies, in their proposals, valued Tradescape at between $200-$300 million, as did

E*Trade.

                   11.     E*Trade representatives, however, made numerous false statements to T

Corp to ensure that T Corp sold Tradescape to E*Trade and not to the many other qualified,

well- financed bidders interested in an acquisition. These material misrepresentations fa ll in the

following general categories:

                   •       E*Trade stock was the “best and most attractive currency” among the
                           potential acquirers;

                   •       E*Trade stock would trade at $12/share by September 2002 and $20/share
                           by December 2002 (E*Trade stock actually closed at $4.86/share on
                           December 31, 2002);




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                   •     E*Trade would report $1/share in earnings by the end of 2002 (its actual
                         year-end 2002 results were a loss of approximately $186 million);

                   •     E*Trade’s financial statements fairly and accurately reflected E*Trade’s
                         financial cond ition (a blatant misrepresentation in light of, among other
                         things, the misconduct described herein);

                   •     E*Trade intended to execute a strategy to consummate further acquisitions
                         of, or “roll- up”, the active trading industry – a strategy that would have
                         been enormously profitable for Momentum – but unlike T Corp, E*Trade
                         knew it would never follow through on this strategy; and

                   •     T Corp’s CEO, Omar Amanat, would have full operational control over
                         the Momentum business, as well as additional necessary resources and
                         capital, and would eventually run E*Trade’s entire retail brokerage
                         business (Mr. Amanat was terminated a few weeks after the merger
                         closed).

These representations succeeded in inducing T Corp to sell to E*Trade. Unfortunately for T

Corp, however, each of these representations and others along the same lines were false.

                   12.   In addition, at no time during the negotiations leading to the agreement did

E*Trade representatives disclose any facts regarding E*Trade’s exorbitant executive

compensation arrangements, namely, that E*Trade privately had committed to pay its CEO,

Christos Cotsakos, compensation of nearly $90 million in 2001.

                   13.   The public disclosure, made for the first time at the end of April 2002, that

E*Trade had privately paid Cotsakos $88 million – made just weeks after E*Trade and T Corp

executed a merger agreement – caused the price of E*Trade shares to decline dramatically and

resulted in the value of the consideration paid for the acquisition to drop from approximately

$300 million to below $200 million within days of the announcement. The price of E*Trade

stock continued to decline thereafter due to a widely reported “corporate governance penalty”

overhang on the stock, dramatically reducing the value of the consideration paid to T Corp, as

more allegations regarding the excessive compensation and lavish perks paid to E*Trade

executives were extensively reported in the media.



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                   14.      Additional misconduct by Defendants resulted in Plaintiffs being deceived

as to the value of the E*Trade stock they received in the transaction. After the closing of the

merger, T Corp discovered that E*Trade had a practice of manipulating its reported financial

results through a number of improper methods, including capitalizing as assets certain payments

that clearly should have been expensed immediately, thereby artificially inflating E*Trade’s

profit figures.          T Corp was also informed that E*Trade engaged in the practice of

“springloading” (i.e., reporting unduly positive) results in connection with acquisitions by

improperly attributing and shifting costs incurred following an acquisition (and that should have

been payable and expensed by E*Trade) to the pre-closing period (when they would have to be

paid by the seller).

                   15.      Moreover, Softbank breached its fiduciary duties to T Corp at this time.

As noted, Softbank had a lien on T Corp’s intellectual property. By refusing to release its lien on

T Corp’s intellectual property other than in connection with a sale to E*Trade, Softbank thereby

compelled T Corp to consummate a transaction with E*Trade, and prevented T Corp from

pursuing potentially more attractive sale opportunities or receiving financing from willing

financial investors.

                   16.      In short, Softbank and E*Trade’s campaign to mislead T Corp as to the

value of the E*Trade stock it would receive in exchange for T Corp, including the failure to

disclose Cotsakos’ compensation package, and Softbank’s breach of its fiduciary duties, caused

Plaintiffs to agree to the transaction and resulted in hundreds of millions of dollars of damages.

                   17.      Once E*Trade had succeeded in acquiring Tradescape, Defendants then

did everything in their power to deny T Corp the Earn-Out, including putting MarketXT out of

business (and thus denying Momentum the rebate revenues generated by MarketXT). The

catalogue of offenses committed by defendants to put MarketXT out of business and ensure that


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Momentum did not meet the revenue targets for the Earn-Out also included E*Trade: (i)

wrongfully terminating the employment of Mr. Amanat with E*Trade without cause, thereby

violating the provision of the Merger Agreement which granted him post-closing authority over

the Momentum business, and further impeding Momentum’s ability to satisfy the Earn-Out

requirements; (ii) approaching the NASD with a re-stated and false net-capital report for

Momentum showing millions of dollars in receivables still owed from MarketXT for the sole and

improper purpose (which was realized) that the NASD would shut down MarketXT due to this

perceived net capital deficiency; (iii) refusing to use “commercially reasonable efforts” to

register T Corp’s E*Trade stock “as soon as practicable” after the merger closed, as was required

by the Merger Agreement, further thwarting T Corp’s ability to obtain funds and to correct

MarketXT’s net capital issues; (iv) rejecting two bona fide, signed $20 million commission

contracts obtained by T Corp from two large hedge fund clients - business that certainly would

have been welcomed by E*Trade for the newly acquired Momentum subsidiary except for the

fact that it would have been credited toward the contingent portion of the merger consideration;

(v) illegally freezing out and denying MarketXT access to its network, which essentially shut

MarketXT down, and prevented T Corp from obtaining a loan (which was contingent on

showing the lender that MarketXT had access to a data center, since an ECN cannot operate

without a data center) that would have provided the necessary funds to operate MarketXT; and

(vi) converting all of T Corp’s electronic files, including e- mails, financial data, attorney-client

privileged documents, and proprietary intellectual property records, which barred MarketXT

from accessing its own files and led MarketXT to be unable to respond to certain regulatory and

legal obligations, and further contributed to MarketXT being shut down.

                   18.   Not to be outdone, Softbank resorted to threats of physical and economic

harm against T Corp and Mr. Amanat. In early September 2002, Softven No. 2 Investment


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Enterprise Partnership (“Softven”), a Japanese partnership affiliated with Softbank, filed a

motion for summary judgment in lieu of complaint against T Corp in New York state court

seeking to recover on a promissory note issued by T Corp. Thereafter, Robert Takeuchi, one of

the representatives Softbank had appointed on the T Corp Board of Directors, called Mr.

Amanat’s home on or about January 26, 2003 and threatened the lives of Mr. Amanat and his

family. During that call, Mr. Takeuchi stated that Softbank had “friends” in Japan who were

experts in burying people like Mr. Amanat, as well as his family, “ten feet underground” where

no one would ever find them. To avoid this fate Mr. Amanat had to comply with Softbank’s

demands by, among other things, settling the litigation on Softbank’s unconscionable terms. Not

content with threats of physical violence, Softbank also repeatedly threatened to drive T Corp

into bankruptcy unless it settled the Softven litigation. These threats of physical and economic

harm coerced Mr. Amanat and T Corp into executing a settlement agreement, under duress,

resolving the Softven lawsuit on draconian and unconscionable terms. The release given as part

of that settlement is unenforceable for a variety of reasons including, but not limited to, the

threats of physical and economic harm which constitute coercion and duress.

                   19.   The misconduct described above (which is by no means an exhaustive

description of Defendants’ wrongdoing) has caused significant injuries to Plaintiffs.

                   •     The Earn-Out alone is worth $300 million (21 million E*Trade shares at
                         the current price per share);

                   •     T Corp has sustained damages in excess of $200 million by virtue of
                         having been fraudulently induced to agree to an $8.51 collar on the merger
                         consideration. The fraudulently induced collar resulted in damages to T
                         Corp when the stock price declined pre-closing to $6.04/share. Without
                         the collar T Corp would have received an additional fifteen million shares
                         of E*Trade stock, which would now be worth $200 million;

                   •     By purposefully driving MarketXT out of business, defendants have
                         inflicted as much as $1 billion in additional damages on plaintiffs (based



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                         on sales of comparable electronic communications networks within
                         months of MarketXT’s demise and the recent public offering by the
                         E*Trade affiliate, Archipelago ECN);

                   •     Defendant’s tortuous interference with loan agreements with numerous
                         third parties resulted in T Corp paying an additional $20 million in interest
                         for financing, and forced T Corp to allow its primary lender to hedge most
                         of T Corp’s E*Trade shares at $4.50/share, creating another $90 million in
                         damages;

                   •     The conversion of T Corp’s hardware, software and equipment has caused
                         it to suffer damages in excess of $10 million.

                   20.   Plaintiffs have brought this action to remedy the deliberate and continuing

campaign of misconduct carried out jointly by Defendants for one goal and one goal only: to

succeed in buying a business worth hundreds of millions of dollars while paying only a fraction

of the contractual merger consideration, and driving a competitor out of business.               That

wrongdoing is the basis for the allegations, claims and damages sought herein.

                                              PARTIES

                   21.   Plaintiff MarketXT Holdings Corp. is a Delaware corporation with its

principal place of business at 712 Fifth Avenue, New York, New York.

                   22.   Plaintiff MarketXT, Inc., is a Delaware corporation with its principal place

of business at 712 Fifth Avenue, New York, New York.

                   23.   Upon information and belief, defendant E*Trade is a publicly- traded

company incorporated and existing under the laws of the State of Delaware, with its principal

place of business at 135 East 57th Street, New York, New York. Upon information and belief,

defendants TTH Acquisition Corp. and MHI Acquisition Corp. are wholly owned E*Trade

subsidiaries incorporated under the laws of the State of Delaware.

                   24.   Upon information and belief, defendant Jarrett Lilien was, at all relevant

times, the Chief Brokerage Officer of E*Trade.



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                   25.   Upon information and belief, defendant Mitchell Caplan was, prior to the

January 2003 resignation of Christos Cotsakos, the Chief Operating Officer of E*Trade. Mr.

Caplan became the Chief Executive Officer of E*Trade upon Mr. Cotsakos’ resignation.

                   26.   Upon information and belief, defendant Stephen Ehrlich was, prior to the

closing of the merger, the Chief Financial Officer of E*Trade’s Institutional Services division.

Following the merger Mr. Ehrlich became the Chief Executive Officer of Momentum (which

E*Trade renamed E*Trade Professional Trading, LLC).

                   27.   Upon information and belief, defendant Softbank Finance is a corporation

established under the laws of Japan that conducts regular and ongoing business activity in New

York and throughout the United States.

                   28.   Upon information and belief, defendant Softbank Corp. is a holding

company established under the laws of Japan that conducts regular and ongoing business activity

in New York and throughout the United States.

                   29.   Upon information and belief, defendant Masayoshi Son was, at all relevant

times, the President and CEO of Softbank Corp.

                   30.   Upon information and belief, defendant Ronald Fisher was, at all relevant

times, the Vice-Chairman of Softbank Holdings, Inc., and a member of the E*Trade Board of

Directors designated to that board by Softbank.

                   31.   Upon information and belief, defendant Robert Takeuchi was, at all

relevant times, the President of Softbank Finance America Corporation, and a member of the

Board of Directors of T Corp designated to that board by Softbank.

                   32.   Upon information and belief, defendant Shinji Yamauchi was, at all

relevant times, the General Manager of the Corporate Strategy Department at Softbank Finance,

and a member of the Board of Directors of T Corp designated to that board by Softbank.


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                                  JURISDICTION AND VEN UE

                   33.   The Court has jurisdiction over this action and over defendants pursuant to

Section 10(b) of the Securities Exchange Act of 1934, 15 U.S.C. § 78j(b), and 28 U.S.C. §§ 1331

and 1367. The claims asserted against Defendants herein arise from the same transactions,

occurrences, and nucleus of operative facts – including the sale of Tradescape to E*Trade and

the Defendants’ joint attempts thereafter to deny T Corp the merger consideration.

                   34.   Venue is proper in the Southern District of New York pursuant to 28

U.S.C. § 1391(b)(2) because, among other things, a substantial part of the events giving rise to

Plaintiffs’ claims occurred in this district.

                                      I.        BACKGROUND

    A.        E*Trade and Softbank Fraudulently Induce T Corp To Enter Into A Merger
                                 Agreement With E*Trade

         1.        T Corp Commences An Auction For The Sale Of Tradescape

                   35.   The process of selling Tradescape commenced in or around September

2001, when Omar Amanat, the founder and CEO of T Corp, entered into negotiations with

Ameritrade, Inc. (“Ameritrade”) about the potential sale of all of the T Corp subsidiaries.

                   36.   Thereafter, in November 2001 T Corp hired a boutique advisory firm run

by Steve McLaughlin, formerly of Goldman Sachs & Co., to auction the T Corp subsidiaries. T

Corp, with the assistance of Mr. McLaughlin, prepared a “book” containing information

regarding T Corp and sent the book to at least fourteen potential acquirers. Eleven of those

potential acquirers, including some of the most significant participants in online brokerage

services such as Ameritrade, Knight Securities, Charles Schwab, and Fidelity Investments, and

prominent potential financial buyers such as CIBC, Man Financial, Kelso & Co., and Welsh

Carson Anderson & Stowe, submitted proposals and sought to and in fact conducted in-depth



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due diligence with the intent to purchase 100% of T Corp. These proposals valued Momentum

and the other subsidiaries being auctioned at between $100 and $300 million. These proposals

came in two forms. Some of the potential acquirers offered to buy Tradescape outright, with no

earn-out provision. These offers would have provided T Corp with immediate liquidity, but

severely limited T Corp’s ability to share in any future growth of the Tradescape business.

Several of the other potential investors submitted proposals that provided a significant

investment into Momentum, thus leaving T Corp with a large percentage of the business and the

opportunity to share in the future growth of the Tradescape business, but not providing T Corp

with the immediate liquidity it desired in order to invest in its rapidly growing MarketXT

subsidiary.

        2.         T Corp Does Not Invite E*Trade To Participate In The Auction

                   37.   At first, T Corp instructed McLaughlin not to send the Tradescape book to

E*Trade because of T Corp’s experience in a prior negotiation with E*Trade. Two years earlier,

during the summer of 1999, E*Trade had offered to buy T Corp for approximately $300 million.

The parties reached an oral agreement based on representations by Christos Cotsakos, the CEO

of E*Trade, and negotiated and finalized a written agreement, but then E*Trade requested that T

Corp delay executing the formal written agreement until E*Trade consummated its pending

acquisition of Telebanc (which was being held up by regulators from the Office of Thrift

Supervision (“OTS”)).

                   38.   Throughout the next six months Cotsakos and Softbank representatives

gave Mr. Amanat total and unambiguous personal assurances that an E*Trade-Tradescape

acquisition would be completed along the lines of the oral agreement reached between the

parties. For instance, in a trip to Japan at Softbank CEO Masayoshi Son’s home, Mr. Cotsakos

pledged to Mr. Amanat that the deal was in effect already signed: “you have my word.” Mr.


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Amanat responded that Ameritrade was pushing aggressively to acquire Tradescape and that he

needed certainty of E*Trade’s commitment.            Mr. Cotsakos then re-affirmed his binding

commitment and said that there was no reason to continue to speak to Ameritrade since this was

already a done deal. Son also assured Mr. Amanat that if Mr. Cotsakos did not honor his

commitment to buy Tradescape for any reason, Softbank would “honor” it by giving Tradescape

a put option to sell the company to Softbank for $326 million. In light of the representations

made by Cotsakos, and the assurances provided by Softbank’s CEO, T Corp did not pursue a

$275 million acquisition proposal by Ameritrade or other acquisition offers existing at that time.

However, once E*Trade reneged on its pledge to buy T Corp Softbank made it known to Mr.

Amanat that the put option was not available.

                   39.   Schwab, one of the other potential T Corp acquirers, was so convinced of

the impending E*Trade acquisition that it defensively moved to acquire Cybertrader – the first

company that Mr. Amanat had helped to create but no longer managed – for $488 million on

January 7, 2000. Schwab senior executive Vernon (Butch) Jones confirmed the reason for this

acquisition, telling Mr. Amanat that Schwab would have instead attempted to buy T Corp had it

not been under Softbank and E*Trade’s “spell.” Indeed, Schwab was willing to pay $488

million for the Cybertrader business which at that time was generating only $25 million in

annual revenue (compared to Tradescape’s $75 million in revenue).

                   40.   In all, E*Trade purported to negotiate an acquisition for nearly six months

– all the while with Cotsakos and other E*Trade (and Softbank) representatives (including the

defendants herein) giving assurances that E*Trade would consummate a transaction – only to

refuse to move forward with a purchase after all that time had elapsed and the other proposals

were no longer open to T Corp. During the six month period in which the negotiations took

place T Corp had complied with E*Trade’s requests: (i) not to issue options to any employees;


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(ii) to put a freeze on the hiring of new employees; and (iii) not to enter into any strategic

partnerships that would have grown the T Corp business, including terminating a signed $40

million investment agreement between T Corp and a $1 billion private equity firm. All of these

actions were undertaken by T Corp in expectation of closing a sale to E*Trade, and each had an

adverse effect on T Corp’s business.

                   41.   T Corp later discovered that the reason E*Trade would not move forward

with the acquisition was because federal bank ing regulators (at the OTS) were concerned about

the undue influence of a foreign entity (Softbank) over a domestic bank. According to news

articles, the regulators were threatening not to approve E*Trade’s acquisition of Telebanc if

Softbank’s ownership of E*Trade increased – as it would have had the Tradescape acquisition

been completed by E*Trade (since Softbank owned a large percentage of Tradescape and

E*Trade’s Tradescape acquisition offer was composed entirely of E*Trade stock). For months

before E*Trade cut off acquisition discussions with T Corp (while attempting to close the

Telebanc transactio n), Cotsakos and other E*Trade and Softbank representatives knew that the

OTS would prevent an E*Trade- T Corp deal, yet he continued to outright lie to T Corp that the

issues holding up the Telebanc merger were insignificant (he never alluded to the real issue

involving Softbank’s ownership status) and that the E*Trade- T Corp transaction would be

completed. When Mr. Amanat learned of this he contacted Ron Fisher, an E*Trade director

designated by Softbank, and sent him an email indicating he would be suing E*Trade and Mr.

Cotsakos. Mr. Fisher warned Mr. Amanat against doing so, stating that Cotsakos would simply

badmouth T Corp and falsely blame due diligence issues as the reason E*Trade reneged on the

deal. Fisher stressed that a two-year old company like Tradescape could not survive that type of

slander from the CEO of a public internet company.




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        3.         E*Trade Deceives T Corp Into Allowing It To Participate In The
                   Auction

                   42.   While E*Trade’s deceptive conduct in 1999 caused T Corp not to include

E*Trade as a potential buyer in 2001, E*Trade learned of the 2001 auction and sought to

participate. E*Trade initially expressed its interest by contacting Mr. McLaughlin in December

2001. In that conversation E*Trade indicated that it had a “significant head start” on the other

bidders in the due diligence process (because it had conducted due diligence during 1999 and

because of Softbank’s relationship with both companies).

                   43.   Recognizing that its past misconduct had led to being excluded from the

auction process, E*Trade sought a meeting with Mr. Amanat to assuage his concerns about yet

again dealing with E*Trade and Cotsakos. Mr. Amanat ultimately agreed to a meeting with

E*Trade because, notwithstanding past dealings, E*Trade had the resources to complete a deal

and it was a logical, strategic buyer of the Momentum business (as E*Trade already had

experience in the industry and was looking to expand at a time when there were few viable

acquisition candidates and the industry was consolidating).

                   44.   Accordingly, in December 2001 Mr. Amanat, Sohail Khalid and Scott

Appleby (an advisor) of T Corp met with Jerry Gramaglia, then the President of E*Trade. The

meeting focused on Mr. Amanat’s concerns about his past dealings with E*Trade, and Mr.

Gramaglia repeatedly sought to allay these concerns through (as Mr. Amanat later learned) a

series of false statements. For instance, Mr. Gramaglia represented that: (i) E*Trade was an

entirely new company this time around and Cotsakos was no longer calling all the shots

singlehandedly; (ii) T Corp would be conducting negotiations exclusively with an entirely new

group of E*Trade management, including Jarrett Lilien, E*Trade’s Chief Brokerage Officer,

who was not involved in the 2000 negotiations, and Mitch Caplan, the former CEO of Telebanc;




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and (iii) if a deal was consummated, Mr. Amanat could continue to operate the Momentum

business without interference from Cotsakos and his cronies. Each of these statements was

materially false and was intended to induce and in fact caused T Corp to permit E*Trade to

participate in the auction process, conduct due diligence and ultimately purchase the Acquired

Companies.

                   45.   The morning following the meeting, Lilien, Stephen Ehrlich and several

other E*Trade representatives came to T Corp’s New York offices for additional discussions. At

this meeting the E*Trade representatives viewed T Corp’s software, technology and facilities –

in effect conducting preliminary due diligence. They also were provided with copies of T Corp’s

financial statements, and shortly afterwards, on December 26, 2001, E*Trade submitted a written

proposal to acquire Tradescape for between $250 and $350 million. E*Trade also reiterated that

since it already had a “significant head start” on the due diligence process, it wanted to close the

deal quickly. At this point E*Trade was also eager to convince T Corp that E*Trade “had the

most attractive currency” among the potential acquirers in that its stock was undervalued and

likely to increase in the coming year (it was trading at $10.25 per share at the time).

                   46.   Between January and March 2002 all of the other potential acquirers that

submitted proposals had the opportunity to conduct due diligence. During this period E*Trade

and the other potential acquirers were granted full and complete access to T Corp’s books and

records and personnel. E*Trade and the other potential buyers had access to and reviewed

approximately 100 binders of legal, accounting, and compliance files regarding Tradescape.

E*Trade itself brought in a team of 50 people, including internal and external lawyers,

investment bankers, accountants and business executives to assist in the due diligence process

and interface with T Corp’s outside counsel, investment bankers, and auditors from Ernst &

Young.


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                   47.   After completing to its satisfaction the extensive due diligence process,

E*Trade submitted a formal offer to T Corp in a letter dated March 15, 2002. In that letter,

E*Trade offered to purchase the Acquired Companies for E*Trade stock valued at that time at

approximately $280 million; approximately $100 million was payable at closing, with contingent

consideration of additional E*Trade stock then worth $180 million (and recently worth

approximately $300 million) payable upon Momentum achieving certain revenue targets in 2002

and 2003.      This proposal was particularly favorable for T Corp because unlike the other

proposals it had received, which offered either immediate liquidity or the benefits of future

growth, the E*Trade proposal offered both.

        4.         E*Trade Deceives T Corp Into Selling Tradescape To E*Trade

                   48.   In the course of the auction for Tradescape, E*Trade made numerous false

statements to T Corp to induce it to sell to E*Trade. Although E*Trade stock was only trading at

approximately $9.50 per share in March 2002, Jarrett Lilien and other E*Trade executives

represented that E*Trade shares would trade at $12 per share by September and $20 per share by

December of 2002 (it actually closed at $4.86 in December 2002). Thus, while time and again

representing that E*Trade’s shares were undervalued and that the price of the stock would rise

significantly within the year, E*Trade knowingly concealed from Plaintiffs material facts that

made these statements patently false.

                   49.   Most importantly, at no time during the negotiations leading to an

agreement did E*Trade representatives disclose any facts regarding its CEO’s compensation

arrangements, namely, that E*Trade had privately paid Cotsakos nearly $90 million in 2001.

This grossly excessive compensation was clearly material to investors but was not disclosed to T

Corp. The disclosure, which occurred at the end of April 2002 – just weeks after E*Trade and T

Corp had executed a merger agreement – caused the price of E*Trade shares to decline


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dramatically and resulted in a $100 million loss in the value of the acquisition within days of the

announcement.

                   50.   The material omissions concerning E*Trade did not stop there. Rather, as

Mr. Amanat would later learn, E*Trade had improperly capitalized approximately $10 million of

expenses as assets, thereby artificially inflating its profit figures. To cite just one instance,

E*Trade would capitalize the cost of promotions, including Rolling Stones and Third Eye Blind

concerts and certain extravagant parties (including one planned at the Playboy Mansion), instead

of reporting such costs as expenses. When Mr. Amanat asked about the accounting treatment for

these parties, he was informed by E*Trade Professional Trading, LLC’s newly appointed chief

financial officer, Michael Chochon, that E*Trade kept two sets of books – one for Wall Street

and one for E*Trade’s eyes only.

                   51.   E*Trade also engaged in conduct reminiscent of alleged conduct at Tyco.

E*Trade has admitted excessive undisclosed compensation for Mr. Cotsakos. Furthermore, there

are no shortage of witnesses to the excess that characterized E*Trade’s affairs. One of these

decadent parties, in Houston, Texas, was attended by a reporter for the New York Times. A $1.5

million party (improperly capitalized as a “branding” asset) that was held in New York City at

the Hammerstein Ballroom, which was attended by much of E*Trade’s senior management, was

replete with ice carvings, Cirque Du Soleil acrobats, and a private performance by the rock band

Third Eye Blind (which by itself cost $500,000). The New York City party was also attended by

a reporter for the Washington Post and Fortune Magazine, and was videotaped by an attendee.

                   52.   Also reminiscent of allegations concerning Tyco, E*Trade manipulated

accounting rules relating to its acquisitions. Stephe n Ehrlich told Mr. Amanat in a post-closing

strategy meeting that E*Trade was going to use a “tried and true” method to make Momentum’s

post-closing numbers look better by “stuffing” or attributing expenses that could be accrued in


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June or July (i.e. post closing) to the pre-closing period (i.e. to T Corp). Jarrett Lilien summed

up E*Trade’s willingness to report inaccurate financial results as follows:

                   Omar, you will learn as I have, that running a public company is a
                   lot different than running a private one. In a private company, you
                   manage the cash. In a public company you manage the street and
                   there are a lot of tricks you can use to make your numbers look
                   better when you are a public company than when you are a private
                   company.

        5.         Softbank and E*Trade Coerce T Corp To Consummate The
                   Transaction with E*Trade

                   53.    Softbank actively participated in E*Trade’s misconduct, in breach of its

fiduciary duty to T Corp, by compelling T Corp to sell Tradescape to E*Trade, and cutting off T

Corp’s ability to pursue potentially more attractive acquisition candidates or receive a significant

investment of capital. Specifically, in early March, 2002, Schwab, which had learned of T

Corp’s potential transaction with E*Trade, submitted an all-stock offer to acquire Tradescape,

subject to completing due diligence, for $200 million up-front, with no portion deferred as

contingent compensation. Because it was late entering the auction process, however, Schwab

requested that T Corp delay a sale to allow it to conduct due diligence.             When T Corp

approached E*Trade and Softbank regarding extending the period of the auction, E*Trade

refused, and began to exert pressure on T Corp to execute the deal immediately. E*Trade’s

investment bankers even indicated that Cotsakos had told them that they would be fired if a

transaction was not completed immediately.

                   54.    Between March 22 and April 9, 2002, E*Trade and T Corp representatives

negotiated the terms of a written merger agreement pursuant to which E*Trade would acquire all

of the T Corp subsidiaries other than MarketXT, including Momentum, MHI, and THI. During

this interval, E*Trade was also pursuing an acquisition of Datek Online (“Datek”), another active

trading online brokerage firm that was conducting an auction for its sale. According to an


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E*Trade board presentation “Plan A” was to buy Datek, while “Plan B” was to buy Tradescape

and “roll- up” (consolidate) the rest of the active trading industry. However, on or about April 2,

when it became clear to E*Trade that Datek was going to be acquired by archrival Ameritrade,

E*Trade became even more anxious not to be seen as falling too far behind Ameritrade in the

extremely competitive online brokerage business.         Thus, on or about April 5, E*Trade

aggressively pushed T Corp to agree to a deal and finalize a merger agreement “at once”, and

E*Trade’s then CEO Cotsakos communicated to T Corp that the E*Trade offer would only

remain open for one week.

                   55.   E*Trade explained that it wanted to conclude a deal quickly so as to

coincide its announcement with a Datek transaction because E*Trade believed Ameritrade would

be seen as overpaying for its $1.3 billion acquisition, while E*Trade would be seen as “smart,

disciplined and not overpaying” for T Corp at a purchase price of $280 million while receiving

more trading volume from Tradescape than Datek would give Ameritrade. The acquisition

would also catapult E*Trade to the new #1 spot among all online brokerage firms in terms of

daily transactions (the leading measurement for the industry) only days after archrival

Ameritrade had claimed that title.

                   56.   While E*Trade was intent on securing the benefits accruing from an

acquisition of Tradescape, it also, unbeknownst to T Corp, repeatedly made materially false and

misleading statements and material omissions – as to Cotsakos’ compensation, for instance – to

induce T Corp to sell the Acquired Companies to E*Trade and not the many other entities

bidding for these businesses.




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                      B.      THE TERMS OF THE MERGER AGREEMENT

                   57.     T Corp executed the Merger Agreement with E*Trade on April 10, just

two days after rival Ameritrade announced its $1.3 billion acquisition of Datek. E*Trade touted

the acquisition of T Corp in a press release by Cotsakos and Lilien, who stated:

                   We have the currency and resources for selective, disciplined
                   acquisitions, allowing us to look at all opportunities, but select
                   only the best. Through the strategic acquisition[] of Tradescape...,
                   at the right price and on the right terms, E*Trade Financial is
                   solidly positioning itself as a leading provider of active trading
                   services.... Tradescape delivers incremental revenue at attractive
                   margins and positions E*Trade as a leader in daily average
                   transactions.      The performance-driven contingent stock
                   consideration helps to ensure the value proposition of the deal in
                   accordance with our disciplined acquisition strategy. Over a
                   period of months, we have explored numerous alternatives and
                   firmly concluded that the acquisition of Tradescape is the ideal
                   choice.

                   58.     As initial consideration for relinquishing its ownership interest in the

Acquired Companies E*Trade was supposed to provide T Corp with $100 million in E*Trade

stock (the “Initial Consideration”). However, under Section 1.4(c) of the Agreement, the actual

number of E*Trade shares transferred to T Corp as Initial Consideration was calculated by

dividing $100,000,000 by the average closing price of E*Trade common stock during the ten day

period leading up to the “effective date” of the merger (June 3, the date the transaction closed).

                   59.     Relying on false statements made by E*Trade regarding its financial

performance, T Corp agreed to a collar of $8.5106/share on the Initial Consideration shares. As

a result, if the average closing price of E*Trade shares in the relevant period fell below $8.5106,

T Corp would not receive any additional shares to reach the $100 million figure. Thus, a

precipitous decline in the price of E*Trade shares prior to closing would mean an equally

precipitous decline in the value of the Initial Consideration. In contrast, as long as the price of

E*Trade shares stayed at or above $8.5106/share, the value of the Initial Consideration would



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remain constant at $100 million.        Any further increase in price would be offset by a

corresponding decline in the number of shares transferred.

                   60.   The Initial Consideration shares were subject to a Lock-Up Agreement,

which placed certain restrictions on T Corp’s ability to dispose of the shares. Under the Lock-

Up Agreement, the Initial Consideration was divided into three tranches. T Corp could only

dispose of the number of shares within each tranche after an agreed upon date, unless it first

obtained E*Trade’s consent.         The first tranche, which constituted 30% of the Initial

Consideration, was freely disposable when E*Trade registered the stock with the SEC. Pursuant

to Section 5.1(i) of the Merger Agreement, E*Trade was obligated to “use its commercially

reasonable efforts to file the Registration Statement as soon as practicable after the Effective

Time, but in no event later than 120 days after the Effective Time.” The Effective Time was

June 3, 2002.

                   61.   The second tranche, which constituted an additional 30% of the Initial

Consideration, was freely disposable on or after December 31, 2002. Then, on December 31,

2003, all the remaining shares would be released from the restrictions imposed by the Lock-Up

Agreement.

                   62.   The parties also entered into an Escrow Agreement, dated May 31, 2002.

Under the Escrow Agreement, approximately 2,350,000 of the shares paid as Initial

Consideration would be held in escrow until May 31, 2004 for the satisfaction of any

indemnification claims asserted by E*Trade against T Corp.

                   63.   In addition to the Initial Consideration, the Merger Agreement also

provided for payment to T Corp of additional stock then valued at $180 million (and recently

worth $300 million) in contingent consideration.      Pursuant to Section 1.18 of the Merger

Agreement, T Corp would be entitled to this additional consideration only if the Acquired


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Companies reached established revenue targets during 2002 and 2003. As E*Trade well knew,

however, based upon Momentum’s past performance under Mr. Amanat, the Acquired

Companies were almost certain to satisfy the requirements of the Earn-Out (absent improper

interference and misconduct by E*Trade).

                   64.   In order to receive the benefits of the Earn-Out, the Acquired Companies

had to generate revenues of only $30 million in 2002 (July 1, 2002 through December 31, 2002)

and $60 million in the 2003 calendar year. Momentum had generated revenues of $140 million

in 2000 and $121 million in 2001.            Thus, the revenue targets were easily attainable.

Furthermore, E*Trade repeatedly represented to T Corp prior to the merger that it was engaged

in the process of “rolling up” the active trading industry (buying up small brokerage firms which

specia lized in providing access to active-traders), which would have further enhanced T Corp’s

ability to achieve the Earn-Out by expanding Momentum’s customer base.

                   65.   In addition, the Merger Agreement itself contained several provisions

which were intended to facilitate T Corp’s ability to meet the requirements of the Earn-Out.

First, the Merger Agreement contained a Management Retention Agreement (“MRA”), which

provided that Mr. Amanat would retain day-to-day control over the operations of Mome ntum

until the end of the Earn-Out period.

                   66.   While Mr. Amanat was to report to Stephen Ehrlich, Schedule 1.18(e)(e)

of the Merger Agreement granted Mr. Amanat the power (over and above the powers granted in

the MRA) to establish new relationships and attract new business to the Acquired Companies

(subject to E*Trade approval).       Under Schedule 1.18(e)(d) of the Merger Agreement, Mr.

Amanat was also empowered to: (a) hire employees; (b) dismiss employees; and (c) determine

compensation levels for employees of the Acquired Companies. Section 5.7 of the Merger

Agreement further provided for the establishment of a two person “Operating Committee”


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(comprised of Mr. Amanat and an E*Trade executive) to resolve any post-closing management

or integration matters between T Corp and E*Trade. T Corp specifically bargained for these

protections knowing full well that its ability to obtain the Earn-Out would depend on the success

of its former subsidiary, and Mr. Amanat’s ability to monitor Momentum to ensure that it was on

the right track to continue successfully in the future just as it had in the past.

                   67.   Pursuant to the MRA, Mr. Amanat asked to be paid an annual base salary

of just $50,000, with an annual target bonus of 40% of base salary. Clearly, Mr. Amanat’s

incent ive was not the salary or bonus compensation he could earn with E*Trade, but rather the

compensation that T Corp would receive upon attaining the Earn-Out milestones. E*Trade itself

acknowledged the importance of these protections, stating that Mr. Amanat and his expertise

were critical to the integration of the Tradescape businesses and the potential for the achieving

the Earn-Out. Indeed, Jarrett Lilien even stated that the success of the Tradescape acquisition

depended upon retaining Mr. Amanat.

                   68.   Second, Schedule 1.18(e)(c) of the Merger Agreement provided that the

“Parent shall permit the Target Companies to operate and conduct their business and

development activities in the ordinary course, consistent with past practice.” Momentum had

achieved tremendous success in the months preceding the merger, and T Corp believed that it

would continue to succeed if it maintained the same business plan it had under Mr. Amanat’s

leadership.

                   69.   Momentum’s “past practice” included maintaining and expanding its

profitable relationship with MarketXT. As a means of attracting order flow, MarketXT provided

cash rebates to Momentum customers who placed their transactions with MarketXT. As part of

this program MarketXT would pay traders a few tenths of a cent per share for placing any buy or

sell orders on MarketXT. Momentum, whose client base including included professional traders


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with very high trading volume, was able to direct substantial volume to MarketXT in exchange

for rebates from MarketXT to Momentum. A significant portion of Momentum’s overall pre-

merger revenues were derived from MarketXT rebates.

                   70.   Third, Schedule 1.18(e)(g) of the Merger Agreement provided that the

“Parent shall use its commercially reasonable efforts to refrain from taking any action which

would impair the ability of Target Companies to reach the Target Revenue and Net Income

thresholds established pursuant to the agreement.”         This provision provided T Corp with

protection against unwarranted interference with its ability to obtain the contingent portion of the

compensation due under the Merger Agreement.

                   71.   As described below, E*Trade breached all of the foregoing provisions, and

the covenant of good faith and fair dealing implied in all Delaware contracts, in the course of

purposefully and systematically frustrating Plaintiffs’ ability to satisfy the requirements for

obtaining the Earn-Out.

  C.      Softbank and E*Trade Fail To Disclose Cotsakos’ Compensation To T Corp And
             Then Compel T Corp To Close The Sale Transaction With E*Trade

                   72.   On April 30, just three weeks after T Corp had executed the Merger

Agreement with E*Trade, E*Trade publicly announced that its 2001 financials failed to disclose

that it had paid Cotsakos nearly $90 million in compensation in 2001, even though E*Trade

reported losses of approximately $240 million during the same period.            This $90 million

compensation package, which was more than double the combined compensation in 2001 of the

chief executives of Merrill Lynch, Goldman Sachs, and E*Trade rival Ameritrade, made Mr.

Cotsakos the highest-paid CEO on Wall Street, even as E*Trade sustained heavy losses.

                   73.   As reported on the front page of the Wall Street Journal: "'What did he do,

get the stock to go from $6 to $7?' asked Reilly Tierney, an analyst at Fox-Pitt-Kelton. Not far


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off. The firm's shares rose about $2.75 last year to close the year at $10.25. However, they since

have fallen. In 4 p.m. New York Stock Exchange composite trading yesterday, the shares were

changing hands at $7.54, up 29 cents, and they remain far below the firm's record high of about

$70 reached in April 1999. 'That is beyond outrageous'. Mr. Tierney said."

                   74.   E*Trade initially disclosed Cotsakos’ lavish compensation package in its

2001 Proxy Statement, which was filed on April 30, 2002. In the wake of this news, which had

not been disclosed to T Corp during the course of the merger negotiations, and which was not

revealed in any of E*Trade’s prior regulatory filings, the price of E*Trade stock fell another 20%

from approximately $7.50 on April 30 to $6.12 per share on May 10. In light of this crisis, Mr.

Amanat repeatedly expressed his outrage and called for Cotsakos to step down as E*Trade’s

CEO, but these calls went unheeded.

                   75.   By the time the Merger Agreement closed on June 3, the price of E*Trade

stock had fallen to $6.04 per share.       Due to the collar on the Initial Consideration, which

provided that T Corp would not receive any additional shares if the price fell below $8.5106,

E*Trade’s concealment of Cotsakos’ compensation package effectively cost T Corp at least $30

million. As a result of this disclosure, the approximately 11,750,000 shares of E*Trade stock

paid as Initial Consideration were trading at only $6.04 per share. Thus, T Corp only received

$70 million in Initial Consideration, instead of the $100 million (or 16.5 million shares) it should

have received absent being fraudulently induced to agree to the collar.

                   76.   Amid this scandal, and in an effort to contain the public furor over his pay

package, E*Trade announced on May 10, 2002 that Mr. Cotsakos would forfeit $21 million of

his compensation from 2001. In addition, Mr. Cotsakos entered into a new two year contract

under which he would receive zero in base salary, with bonuses tied exclusively to performance

objectives. However, the price of E*Trade shares continued to decline, falling to $4.49 per share


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by January 25, 2003, the day on which Mr. Cotsakos resigned from E*Trade. While the

company gave no reason for Cotsakos’ sudden departure, there was widespread speculation that

Cotsakos’ lavish pay package and corporate governance issues were hanging over the diversified

online broker. In addition, in November 2002, it was reported that Cotsakos had an additional

$27 million in improper loans due to E*Trade, which Cotsakos paid off by forcing the company

to buy back stock from him at an artificially high price ($5.70/share at a time when the shares

were actually trading at $4.70/share). This announcement further depressed the price of E*Trade

stock, as industry analyst Richard Repetto publicly warned investors of the “corporate

governance penalty” being paid by E*Trade in the form of a lower stock price.

                   77.   The fall-out from this grossly excessive compensation package – which

was never disclosed to T Corp in the course of its dealings with E*Trade – continues to this day.

Just recently the New York Times reported that Mr. Cotsakos was forced to repay $4.6 million

for unapproved gifts and travel he received and/or misappropriated during his seven-year tenure

with the company.

                   78.   Had E*Trade or Softbank disclosed to T Corp (and the public) the size of

Cotsakos’ compensation package prior to entering into the Merger Agreement, T Corp would not

have agreed to sell the Acquired Companies to E*Trade, and certainly not on the terms reflected

in the Merger Agreement (including the collar). Moreover, Softbank, which compelled T Corp

to enter into the Merger Agreement in breach of its fiduciary duties, undoubtedly knew about this

compensation arrangement but failed to alert T Corp, given that Softbank’s designee to the

E*Trade Board, Ronald Fisher, the Vice-Chairman of Softbank Holdings, Inc., was on the

Board’s compensation committee, and that $15 million of the compensation E*Trade agreed to

pay Cotsakos was used to purchase Softbank stock in a private transaction. Defendants’ failure




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to disclose these and other material facts to T Corp prior to execution of the Merger Agreement

caused T Corp to enter into that Agreement and it has suffered substantial injuries as a result.

                   79.   Upon learning for the first time, along with the rest of the investing public,

of Cotsakos’ compensation package and observing the value of the equity received in T Corp’s

sale to E*Trade decline substantially (i.e., the value of the deal dropped by $100 million), Mr.

McLaughlin contacted representatives from Schwab regarding their prior $200 million

acquisition proposal. When Schwab refused to explore such a transaction unless T Corp could

terminate the existing Merger Agreement, Softbank, in breach of its fiduciary duties, again

intervened to ensure that the transaction with E*Trade closed.

                   80.   As it did in March 2002, Softbank again in early May informed Mr.

Amanat that it would not release its lien on T Corp’s intellectual property other than in

connection with a sale to E*Trade.         Softbank further indicated that it would accelerate all

outstanding debt owed by T Corp to Softbank and put T Corp into financial jeopardy if T Corp

did not close the deal with E*Trade and pledge all of the Initial Consideration shares as security

for its existing debts to Softbank.

                   81.   On June 3, 2002, with the knowledge that Softbank would block any

attempt to sell to a purchaser other than E*Trade, and with E*Trade fraudulently attempting to

convince Mr. Amanat that (i) he would not face any further interference from Cotsakos; and (ii)

that E*Trade was committed to helping T Corp reach the Earn-Out, T Corp closed the merger

with E*Trade.



         D. E*Trade And Softbank Conspire To Deprive T Corp Of The Benefits Of The
                       Merger Agreement And To Eliminate MarketXT


1.      Bogus Claims That T Corp Owes Millions of Dollars In Pre -Closing Expenses


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                   82.   Having acquired the Momentum business through fraud and Softbank’s

use of its position of trust vis a vis T Corp, E*Trade then embarked on a campaign to ensure that

Momentum did not satisfy the revenue targets necessary to obtain the Earn-Out.

                   83.   First, E*Trade concocted a scheme to declare T Corp in violation of the

Merger Agreement. On May 29, 2002, Momentum’s Treasurer and Financial Principal Bryan

Polozola had informed Mr. Amanat and Dan Ryan, T Corp’s CAO, via e- mail that Momentum

had excess net capital of approximately $1.4 million. Since the Merger Agreement did not

require T Corp to leave excess net capital with Momentum, and E*Trade was aware of and never

raised a prior objection to T Corp’s practice of distributing all excess capital from Momentum to

T Corp, T Corp distributed those funds to the parent entity T Corp and used $750,000 to pay an

amount owed to Nasdaq on behalf of MarketXT. Also consistent with its past practice of not

leaving extra capital in Momentum, T Corp distribut ed $5.4 million worth of MarketXT

receivables (which in any event had no impact on Momentum’s net capital as it was due from an

affiliate) to the parent entity T Corp.      As E*Trade well knew, Momentum had similarly

distributed almost $30 million in excess capital up to T Corp in the previous year.

                   84.   Upon learning of this transfer via a phone call from Mr. Polozola on May

29, E*Trade falsely claimed that T Corp’s action constituted a violation of the Merger

Agreement’s covenant to operate in the ordinary course, consistent with past practice during the

period between signing (April 10th ) and closing (June 3rd). Even though nothing in the Merger

Agreement prohibited T Corp’s actions (as stated above, E*Trade was aware of and never raised

a prior objection to T Corp’s practice of distributing all excess capital from Momentum to T

Corp in the period between signing and closing), T Corp’s primary concern was to resolve the

dispute and proceed with the task of meeting the Earn-Out requirements. As a result, T Corp

agreed to pay Momentum $750,000 to settle the issue (T Corp paid this amount by instructing


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Nasdaq to credit to Momentum’s account the $750,000 that T Corp had paid on behalf of

MarketXT). Notwithstanding this dispute, E*Trade agreed to close the transaction on June 3,

2002.

                   85.   Immediately after T Corp transferred ownership to E*Trade – and

immediately after T Corp paid $750,000 to resolve the net capital dispute – T Corp was informed

by E*Trade that Polozola (who had been working very closely with E*Trade’s management

since April, and who regarded E*Trade as his employer even before the merger closed) had

apparently made a “mistake” in the earlier calculation regarding Momentum’s net capital, and

that Momentum in fact only had $600,000 in excess net capital at the end of May 2002. Because

T Corp had removed $1.4 million from Momentum in May (and only replaced $750,000 of that

$1.4 million), E*Trade asserted that Momentum was operating with a net capital deficiency in

violation of the Merger Agreement and threatened to terminate that agreement unless the capital

was restored. T Corp agreed in good faith to consider that course of action, and the parties met

several times to discuss this matter and determine what exactly the deficiency was, if any, and

how it would be resolved. E*Trade provided several versions of the calculations to T Corp but

could not explain many of its adjustments. In addition, many of E*Trade’s adjustments included

items that were not recorded in accordance with Generally Accepted Accounting Principles

(“GAAP”).

                   86.   Then, two weeks later in mid-June, E*Trade suddenly claimed that T Corp

was liable for an additional $5 million in pre-closing expenses supposedly incurred by

Momentum. In a conversation with Mr. Amanat immediately after the closing (around June 5),

however, Mr. Ehrlich admitted that it was E*Trade’s practice to “springload” post-acquisition

numbers by incorporating many post-acquisition expenses, which would ordinarily be payable by




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the buyer (E*Trade), into the pre-closing period. Almost none of these expenses were properly

attributable to the pre-closing period or were T Corp’s responsibility.

                   87.   E*Trade Professional Trading, LLC’s CFO Mike Chochon admitted such

“springloading” by E*Trade, stating that the only question was how profitable E*Trade wanted

to make June look versus July and onwards. Nevertheless, E*Trade then demanded that T Corp

infuse Momentum with sufficient funds (nearly $6 million) to remedy the net capital deficiency

existing at Momentum and cover the accounts payable, debts that were E*Trade’s responsibility.

E*Trade knew that its sole recourse for any undisclosed liabilities under Section 9.2(a) of the

Merger Agreement was to seek indemnification from the shares held in escrow (and E*Trade

was only entitled indemnification to the extent its losses exceeded $1,000,000), but E*Trade

nonetheless demanded that T Corp pay the full $6 million in cash. At this time E*Trade was

desperate to avoid infusing its own cash into Momentum, as E*Trade was already under

tremendous scrutiny from investors because of the Cotsakos compensation debacle. E*Trade

knew that if it went to its “treasury” for the nearly $6 million in cash to pay Momentum’s debts

(which were E* Trade’s responsibility, not T Corp’s, but which E*Trade was trying to

“springload”) E*Trade would have to report a lower cash position than it had promised investors,

which would cause its stock price to decline even further.

                   88.   T Corp subsequently would learn that E*Trade concocted these phony

demands for payment as part of its scheme – executed with Softbank’s assistance – to avoid

paying the Earn-Out (while also diverting all the Initial Consideration to Softbank) by ensuring

that T Corp and MarketXT were starved for cash and that they never received the funds

necessary to continue in operation or to satisfy E*Trade’s bogus demands for expenses.

                   89.   Even though it knew that T Corp was starved for cash at this time,

Softbank nonetheless tried to induce T Corp to pay off its existing Softbank loans. In an effort to


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extract every last cent it could from T Corp before T Corp went bankrupt, Softbank, through its

outside counsel, promised that if T Corp would pay off its existing Softbank loans, Softbank

would ensure that E*Trade (in which Softbank held a 25% ownership interest) paid the $180

million due to T Corp under the Earn-Out (even though Softbank knew that E*Trade had no such

intention, and that its conflict was a blatant breach of its fiduciary duties to T Corp).

                   90.   Despite E*Trade’s claims that T Corp fraudulently concealed $5-6 million

in liabilities, E*Trade refused to sell Momentum back to T Corp. Indeed, when T Corp asked for

rescission of the Merger Agreement and approached several private equity firms interested in

buying Momentum, E*Trade told Scott Appleby and several others that it liked the Momentum

business and solely wanted to get rid of Mr. Amanat (and therefore avoid paying the Earn-Out).

Despite E*Trade’s claims to T Corp that it overpaid substantially for the Tradescape businesses,

E*Trade never once wrote down the goodwill it recognized in connection with the acquisition,

accounting treatment required by GAAP if E*Trade truly believed it had overpaid.

2.      E*Trade Causes Momentum Not To Accept MarketXT Rebates

                   91.   As observed, E*Trade and Softbank conspired to “starve” T Corp by

choking off its revenues and access to capital until it was forced out of business or accepted their

onerous settlement terms. Although the defendants devised numerous ways to achieve that

improper goal, a primary vehicle involved destroying MarketXT.

                   92.   Specifically, the MarketXT ECN provided its customers, including

Momentum, with cash rebates for placing buy or sell orders on MarketXT – in effect, rewarding

its custome rs for using MarketXT as opposed to another ECN (known in industry parlance as

“payment for order flow”). Prior to the merger, MarketXT provided the largest rebates of any

ECN, and these rebates constituted a significant portion of Momentum’s pre- merger revenues –




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revenues that would help Momentum satisfy the Earn-Out requirements in the Merger

Agreement. MarketXT in the process became the second or third largest ECN, trading roughly

10% of Nasdaq’s daily volume, and according to a JP Morgan research report, became the fastest

growing electronic brokerage firm in the industry in 2002.

                    93.   MarketXT also received favorable reviews in both the New York Times

and Wall Street Journal, as well as in industry publications, for its innovative and

groundbreaking “Get Paid to Trade” rebate program. At this point MarketXT had surpassed

Archipelago, the ECN affiliated with E*Trade, in terms of daily trading volume. Archipelago

recently filed a public offering valuing itself at over $1 billion, after E*Trade destroyed its

competitor MarketXT.

                    94.   To ensure that Momentum was deprived of these revenues and the ability

to meet the Earn-Out targets, E*Trade and Softbank, in violation of the Merger Agreement,

embarked on a campaign to destroy MarketXT. Specifically, Stephen Ehrlich, the CFO of

E*Trade’s Institutional Services division, and the newly appointed CEO of Momentum (E*Trade

Professional Trading, LLC), sent an e- mail on June 18, 2002 (only days after the E*Trade-T

Corp transaction closed) to various E*Trade employees actively encouraging them not to use

MarketXT: “We have to move away from reliance on xt and I want to do it asap.” In a later e-

mail, on June 23, Ehrlich outright directed E*Trade employees to immediately halt Momentum

customers from trading on MarketXT. Then, on June 24, 2002, E*Trade forced all Momentum

customers that had been placing their orders on MarketXT to sign a document terminating any

further rights to receive MarketXT rebates. This forced many customers to switch to other ECNs

which did not pay rebates as large as MarketXT, such as Archipelago, in which E*Trade owned

a substantial interest, and on whose Board of Directors E*Trade had appointed a representative

(Jarrett Lilien).


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                   95.   Since MarketXT provided larger rebates than other ECNs, and a large

percentage of Momentum trades were executed through MarketXT, this change in policy --

which had no purpose other than to deny T Corp the Earn-Out -- reduced Momentum’s overall

revenues and thereby hindered T Corp’s efforts to meet the requirements of the Earn-Out. In

addition, by deviating from the past business practice of Momentum so as to decrease its

revenues, this policy also violated Schedule 1.18(e)(c) of the Merger Agreement, which provides

that “Parent shall permit the Target Companies to operate and conduct their business and

development activities in the ordinary course, consistent with past practice.”

3.      E*Trade And Softbank Conspire To Have the NASD Shut Down MarketXT

                   96.   On or about July 1, 2002, in a scheme to avoid having to infuse any of its

own cash into Momentum prior to reporting its second quarter earnings, E*Trade filed for an

extension of time to file its NASD focus report, claiming that Momentum’s net capital position

was “unclear” and required “further review.” E*Trade then concocted a plan to approach the

NASD and blame this situation on T Corp and MarketXT. Fictitiously claiming that MarketXT

still owed Momentum $5.4 million in rebates as of May 31 (that E*Trade clearly knew had

already been distributed to the parent entity T Corp prior to closing), E*Trade informed the

NASD that Momentum and MarketXT were operating at a net capital deficiency (Momentum by

virtue of the expenses that were allegedly accrued pre- merger, and MarketXT by virtue of the

$5.4 million in rebates it still supposedly owed to Momentum).

                   97.   To further exacerbate MarketXT’s net capital situation, E*Trade

instructed two of its affiliates, Dempsey & Co. LLC (“Dempsey”, a wholly owned E*Trade

subsidiary) and Archipelago (in which E*Trade owned a substantial equity interest, and to whose

Board of Directors E*Trade had appointed Mr. Lilien), not to repay substantial debts – totaling




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approximately $8 million – they owed to MarketXT. Having created a perceived net capital

deficiency and presented this situation to the NASD, Defendants were successful in further

damaging MarketXT: the NASD instructed MarketXT to cease conducting business unless T

Corp infused it with $4 million in capital.

                   98.   In order to avoid a confrontation with the NASD and to keep MarketXT in

operation, Mr. Amanat once again approached Softbank about obtaining a loan so that MarketXT

could cure the NASD’s perceived net capital deficiency and continue operations. T Corp sent

Softbank a letter asking that it either lend T Corp $5 million or release its lien on one million

shares of the Initial Consideration so that those shares could be used as collateral for a loan from

another willing lender. Previously, in connection with an offer to help T Corp in its negotiations

with E*Trade (after Mr. Amanat had been terminated), Softbank had demanded that Mr. Amanat

first sign a custody agreement in connection with an unrelated loan from Softbank. The existing

loan, which was extended in May 2002, had a principal of $5 million and was secured by giving

custody of the E*Trade shares obtained in the merger to Softbank’s control. Mr. Amanat

executed the custody agreement with Softbank on July 25, 2002 (the document was dated July

18, but not signed until July 25), the day after his wrongful termination by E*Trade. This

agreement provided that the 9,400,042 E*Trade shares which were not subject to the Escrow

Agreement, and which were paid as Initial Consideration, would be held in the custody of

Donaldson, Lufkin & Jenrette Securities Corporation, and could not be sold until T Corp fully

repaid its obligations to Softbank.

                   99.   After Mr. Amanat signed the custody agreement, and despite assurances

that Softbank then would continue to finance T Corp as it had before, Softbank refused to loan T

Corp the money or free up the shares – in breach of its fiduciary duty and its oral commitments

to T Corp. As T Corp would later learn, Softbank and E*Trade had conspired to ensure that T


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Corp never obtained the funds to cure the NASD’s concerns over MarketXT’s net capital in an

effort to drive it out of business.

4.      E*Trade Breaches The Merger Agreement By Failing To Register The Initial
        Consideration Shares

                   100.   Notwithstanding Softbank’s refusal to extend a loan, T Corp made every

effort to eliminate the alleged net capital deficiency involving MarketXT, but yet again was

thwarted by E*Trade’s misconduct. To bolster MarketXT’s net capital T Corp had previously

entered into an industry standard assumption agreement with MarketXT whereby T Corp

assumed all its subsidiary’s liabilities. However, the NASD concluded that this agreement was

invalid because, after the merger, T Corp was essentially a holding company whose only asset

other than MarketXT was E*Trade stock, and that stock was not registered. E*Trade, however,

had been contractually obligated to register the Initial Consideration shares by this time but had

failed to do so.

                   101.   Pursuant to Section 5.1(i) of the Merger Agreement, E*Trade was required

to “use its commercially reasonable efforts to file the Registration Statement as soon as

practicable after the Effective Time, but in no event later than 120 days after the Effective

Time.” The Effective Time is defined in Section 1.2 of the Merger Agreement as the date on

which the Certificate of Merger was filed with the Dela ware Secretary of State. This certificate

was filed on June 3, 2002, the closing date of the merger, thus requiring E*Trade to fully register

the Initial Consideration shares at the latest on or around October 3, 2003.

                   102.   In yet another breach of the Merger Agreement, E*Trade did not use

“commercially reasonable efforts” to file the registration statement “as soon as practicable after

the Effective Time.” In fact, E*Trade baselessly threatened and in fact informed regulators that

it might never register the shares. Since these shares were unregistered at the time of the NASD


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investigation (that was initiated by E*Trade) due to E*Trade’s breach of its obligations to

register such shares “as soon as practicable,” the NASD concluded that the Assumption

Agreement did not cure MarketXT’s net capital deficiency. Further, as a result of the $5.4

million in payables that E*Trade falsely claimed MarketXT still owed to Momentum, the NASD

(as note above) instructed MarketXT to cease operations until it could obtain additional capital.

5.      E*Trade Illegally Denies MarketXT Access To Its Computer Network

                   103.   T Corp did not stop its efforts to keep MarketXT in business with the

Assumption Agreement. Instead, after Softbank reneged on its promise to extend a loan in

exchange for executing the Custody Agreement, Mr. Amanat located IIG, which signed an

agreement to lend T Corp $7 million – funds that were more than sufficient to keep MarketXT in

business and satisfy its regulators. However, E*Trade and Softbank conspired to frus trate that

loan.

                   104.   As a condition to closing the loan IIG demanded that T Corp demonstrate

that MarketXT have access to its data center – the essential ingredient of an ECN. Both before

and after the merger MarketXT and Momentum (renamed E*Trade Professional Trading, LLC

after the merger) operated from a shared infrastructure, most of which was physically located on

what was now ostensibly E*Trade’s premises (since T Corp had assigned the lease for that office

space to E*Trade as part of the Merger Agreeme nt). The parties had agreed that MarketXT

would have access to the shared infrastructure until it could complete its migration plan. This

migration was originally supposed to be complete by August 31, but the deadline was

subsequently extended until September 30, 2002, and could be extended in good faith as

necessary.




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                   105.   On August 26, E*Trade prevented MarketXT from accessing its network

or the data center. In addition to denying MarketXT access to the network, E*Trade also

confiscated and took possession of all T Corp’s electronic files, including e- mails, financial data,

attorney-client privileged documents, and proprietary intellectual property records, as well as

roughly $10 million worth of hardware and software. E*Trade also denied MarketXT access to

its crucial Nasdaq lines, effectively cutting off any chance that MarketXT could re-start. By

denying MarketXT access to its network, E*Trade essentially shut MarketXT down, and

prevented T Corp from obtaining the IIG loan.

                   106.   In short, E*Trade and Softbank’s scheme worked as planned: they put

MarketXT out of business and frustrated all of T Corp’s efforts to obtain the funds necessary to

address MarketXT’s net capital issues and restart MarketXT. In achieving this improper end,

E*Trade eliminated a competitor to its Archipelago and Dempsey affiliates and further hindered

T Corp’s ability to meet the Earn-Out requirements.

6.      E*Trade Prevents Mr. Amanat From Operating Momentum And Then Terminates
        Mr. Amanat Without “Cause”

                   107.   While the Merger Agreement and MRA acknowledged that Mr. Amanat

would play a critical role in the daily operation of the Acquired Companies, E*Trade deliberately

thwarted his efforts to bring new trading opportunities to Momentum. On the few occasions

when E*Trade did pursue such business opportunities, it intentionally excluded Mr. Amanat

from discussions with the prospective clients. E*Trade also refused to convene the Operating

Committee established by the Merger Agreement to resolve any post-closing management or

integration matters. On the one occasion when the Committee was supposed to meet, Stephen

Ehrlich threw Mr. Amanat out of his office and refused to speak to him.




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                   108.   E*Trade also interfered with Mr. Amanat’s ability to run the day to day

operations of Momentum in several ways. First, E*Trade excluded Mr. Amanat from a pricing

committee established to evaluate potential clients. Second, communications between Mr.

Amanat’s direct reports and E*Trade management excluded Mr. Amanat.                This course of

conduct alienated Mr. Amanat from his own direct reports, and led these direct reports to believe

that they no longer worked for Mr. Amanat. Third, Mr. Amanat was evicted from his office

(which was usurped by Lilien) and his executive assistant was forced to become an E*Trade

receptionist. Finally, E*Trade gave customers the impression that Mr. Amanat had no authority

over the day to day operations of the Acquired Companies.

                   109.   Not content with the foregoing misconduct, E*Trade terminated Mr.

Amanat without warning during a meeting on July 24, 2002, just seven weeks after the merger

closed. When Mr. Amanat arrived for that meeting he was confronted by a room full of E*Trade

executives, along with E*Trade’s in- house and outside counsel, all of whom were intent on

extorting Mr. Amanat into agreeing to a number of unfavorable changes to the Merger

Agreement. E*Trade threatened to initiate criminal proceedings against Mr. Amanat, file a $50

million civil lawsuit against him, his family and T Corp, and intentionally file a false and

defamatory Form U-5 form (a form filed upon leaving the employment of a broker-dealer) with

the NASD so that he would never work in the securities industry again, if he did not agree within

48 hours of the meeting to: (1) return 50% of the purchase price paid for the Acquired

Companies; (2) return $8-10 million cash; and (3) relinquish T Corp’s right to the Earn-Out. In

order to exert further pressure on Mr. Amanat to forfeit T Corp’s rights under the Merger

Agreement, outside counsel for E*Trade explicitly stated that E*Trade had no problem accusing

Mr. Amanat of conduct in its Form U-5 filing that it could not assert in good faith in a complaint:




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                   The Complaint, and let me start by saying I divided the world into
                   two parts. There are things that we prepare in good faith, and to
                   allege in a complaint consistent with our obligations under Rule
                   11, which in English, Omar, means we have investigated, we think
                   we have a good faith basis to allege it. Whether ultimately we can
                   convince a court or whether you convince a court may be a
                   different issue.

                   But what I am going to go through with you is the essence of what
                   we would be prepared to allege in the event we cannot get this
                   thing resolved. It is not; the other half of the world is what we
                   would feel strongly enough about to be able to include in a Form
                   U-5. That is something we have, in my view, a sort of different
                   level of certainty to.

At this meeting E*Trade also informed Mr. Amanat that his name had come up in relation to a

regulatory investigation of trading activity in March 2002. E*Trade stated that the regulators

had not indicated that they had any concern with Mr. Amanat at that time, but E*Trade was sure

that the NASD would become concerned with him once E*Trade filed the Form U-5.

                   110.   This wrongful termination constituted a breach of Mr. Amanat’s MRA,

incorporated into the Merger Agreement as Exhibit A thereto, which only provided for

termination for “cause”. Specifically, pursuant to the Term of Employment section of the MRA,

termination for “cause” means “a termination for any of the following reasons: “(i) your failure

to materially perform your duties, which failure continues for 20 days after your receipt of notice

from the Company specifying such failure to perform; (ii) your refusal to materially perform

those duties that may be reasonably expected by the Company; (iii) your engaging in conduct

prohibited under E*Trade’s ‘Code of Professional Conduct’; (iv) your being disqualified from

membership in or association with a member of the National Association of Securities Dealers or

any equivalent body; or (v) a material breach of this agreement or any confidentiality or

proprietary information agreement between you and the Company.”




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                   111.   However, E*Trade never provided valid “cause” for Mr. Amanat’s

termination as required under the MRA. Instead, after throwing Mr. Amanat out of its offices,

E*Trade executives defamed Mr. Amanat’s reputation, falsely stating to other Momentum

employees that he had been led out in handcuffs, and otherwise implying that he had been

involved in criminal activity. E*Trade never filed the civil complaint that was shown to him at

the July 24 meeting, and no criminal investigation was ever commenced.

                   112.   By terminating Mr. Amanat without cause, E*Trade not only breached the

MRA and the provisions of the Merger Agreement regarding the operation of Momentum and

Mr. Amanat’s role in connection therewith, but it also inhibited T Corp’s ability to meet the

conditions of the Earn-Out, as Mr. Amanat was thereafter prevented from bringing ne w business

opportunities to Momentum. In this manner, E*Trade furthered its scheme of ensuring that T

Corp would not meet the Earn-Out targets.

                   113.   In addition to Mr. Amanat, E*Trade also permanently damaged the

heralded Tradescape technology, by far its most important asset, by terminating the employment

of Tradescape’s two most important technology personnel. First, E*Trade permanently damaged

Tradescape’s core competency by refusing to retain Eugene Podorbunsky, the lead developer of

its coveted Lightspeed technology. To make matters worse, this allowed Mr. Podorbunsky and

many key clients to defect to archrival Andover. Second, E*Trade fired Chief Technology

Officer Irfan Amanat (who had developed the entire Tradescape software system since its

inception) after he was discovered to be helping Fountainhead, a hedge fund who had committed

to helping T Corp achieve the Earn-Out, become a Momentum client. Both of these terminations

furthered E*Trade’s scheme to prevent T Corp from achieving the Earn-Out.




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7.      E*Trade Enters Into And Then Breaches An Agreement Granting T Corp Access
        To MarketXT’s Own Proprietary Materials and Data Center and Returning Monies
        Indisputably Owed To T Corp By E*Trade

                   114.   In order to prevent T Corp from accepting an offer of investment from

Fortress Capital that would have infused MarketXT with the $4 million it needed to satisfy

NASD concerns and resume operations, E*Trade fraudulently induced T Corp into executing an

agreement (the “Standstill Agreement”), dated September 13, 2002, in which E*Trade promised

to provide T Corp with the capital required by MarketXT and permit T Corp access to all its

software, hardware and intellectual property (which E*Trade had wrongfully stolen from T Corp

and barred it from accessing). Under this agreement, the E*Trade shares held in escrow under

the Escrow Agreement would be liquidated to provide E*Trade with a cash payment of $7

million, with the remaining $1.8 million payable to T Corp. This $7 million payment was in

satisfaction of Momentum’s alleged pre-closing liabilities.

                   115.   Notwithstanding this agreement, however, E*Trade never paid T Corp the

$4 million, and it continued to improperly deny T Corp access to the software and intellectual

property that were crucial to restarting MarketXT.

                   116.   Pursuant to Section 3.2 of the Standstill Agreement, E*Trade had an

obligation to return all of T Corp’s hardware and software “as soon as reasonably practicable

following the Closing date (but no later than 5:00 p.m., Friday, September 20th , 2002).”

However, E*Trade did not deliver the necessary equipment on September 20, nor did E*trade

use its reasonable efforts to accomplish the task in good faith. Instead, E*Trade intentionally

deprived T Corp of access to the hardware and software for as long as possible, and specifically

told T Corp employees that “[i]f T Corp wants the hardware it should go get the sheriff.”

                   117.   In addition to denying T Corp access to its equipment, E*Trade also failed

to comply with Section 1.6 of the Standstill Agreement. That provision imposed a duty on



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E*Trade to facilitate the return to T Corp of a $2.2 million security deposit held by the landlord

at T Corp’s former office space at 135 East 57th Street (the space which E*Trade moved into

after the merger, and which contained the infrastructure previously shared by MarketXT and

Momentum). Under this provision, E*Trade was obligated to post its letter of credit to the

landlord no later than ten business days after the execution of the agreement. Not surprisingly,

E*Trade did not post an acceptable letter of credit to the landlord by the deadline established in

the Standstill Agreement (September 23, 2002). Indeed, E*Trade did not facilitate the return of

T Corp’s security deposit until the summer of 2003, when it was too late to help re-capitalize

MarketXT (which was the primary reason T Corp had executed the September 13 agreement).

                   118.   Without access to its valuable intellectual property, a data center, or

necessary capital – all of which had been denied to T Corp through the wrongdoing of E*Trade

and Softbank – MarketXT finally capitulated. On November 15, 2002, MarketXT was forced to

lay off all 45 of its employees and shut down permanently.

8.      E*Trade Further Hinders T Corp’s Ability To Achieve The Earn-Out By
        Preventing Mr. Amanat From Bringing New Business Opportunities To Momentum

                   119.   During the winter of 2002-2003 Mr. Amanat remained undeterred and

continued to present new business opportunities to E*Trade.           To prevent Momentum from

meeting the revenue targets required for the Earn-Out, however, E*Trade wrongfully and in

breach of the Merger Agreement rejected this business. E*Trade also sent T Corp’s attorneys a

letter on December 4 demanding that Mr. Amanat cease and desist his attempts to attract new

clients for Momentum.

                   120.   For instance, in November and December of 2002 Mr. Amanat reached

agreements with Fountainhead Capital (“Fountainhead”) and Paloma Partners (“Paloma”) – a $5

billion hedge fund, and one of the most attractive clients in the securities industry by virtue of its


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paying over $75-100 million per year in commissions to Wall Street – to direct a significant

volume of trading to Momentum. E*Trade baselessly refused to accept such business, even

though Fountainhead was already connected to the appropriate system and had fully tested

Momentum’s software. The Fountainhead agreement would have generated significant order

flow for Momentum, but it was nonetheless turned away by E*Trade because accepting the

arrangement would have caused Momentum to satisfy the Earn-Out requirements. Similarly,

E*Trade initially refused to meet with or accept business from Paloma, and attempted to scare

Paloma away from T Corp by telling Paloma that E*Trade had $50 million in claims against T

Corp.

                   121.   Notwithstanding E*Trade’s conduct, Mr. Amanat notified Mr. Ehrlich that

he had several additional potential sources of revenue for Momentum, including SAC Capital,

Millennium Partners and Stark Investments. E*Trade failed to even meet with any of these

potentially lucrative clients as well.

                   122.   After doing everything in its power to improperly frustrate T Corp’s

ability to satisfy the requirements for the Earn-Out, E*Trade, faced with the prospect of either

turning away more business (such as Fountainhead) or accepting such business and paying the

Earn-Out, cited misconduct by T Corp as excusing any further obligations it had to make any

payments under the Earn-Out. In a letter dated December 27, 2002, counsel for E*Trade stated

that:

                   What your clients fail to understand is that their actions over the
                   course of the last six months have nullified any putative obligation
                   E*Trade might have to abide by the “earn out” provision of the
                   Merger Agreement.... Thus although E*Trade/Momentum will
                   continue to entertain reasonable business proposals from any
                   source, we believe it is excused from any further performance
                   under the Merger Agreement.




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9.      Softbank, Through Fraud and Coercion, Compels T Corp To Enter Into A
        Settlement Of Litigation Commenced By A Softbank Affiliate

                   123.   On January 27, 2003, T Corp was coerced into a settlement of litigation

which a Softbank affiliate had initiated against it in September of the previous year. In early

September, Softven, a Japanese partnership affiliated with Softbank, filed a motion for summary

judgment in lieu of complaint against T Corp in New York state court. In that motion Softven

alleged that T Corp had defaulted on a promissory note dated August 17, 2000, evidencing an

unsecured loan to T Corp in the amount of $10 million.

                   124.   In the months following the commencement of this litigation, Softbank,

which was hemorrhaging cash at an alarming rate (it reportedly lost $500-600 million in 2002),

engaged in a series of outrageous extortionate acts which ultimately coerced T Corp into

agreeing to a settlement.       First, Robert Takeuchi, one of the representatives Softbank had

appointed on the T Corp Board of Directors, called Mr. Amanat’s home on or about January 26,

2003 and began threatening Mr. Amanat’s life. This call was heard on speakerphone by Mr.

Amanat’s wife, Dr. Sabiya Amanat, a Professor at Columbia University’s Medical and Dental

School. During that call, Mr. Takeuchi stated that he would be “going after Mr. Amanat and his

entire family” and that Softbank had “friends” in Japan who were experts in burying people like

Mr. Amanat “ten feet underground” where no one would ever find him. In conclusion Mr.

Takeuchi stated that to avoid this fate Mr. Amanat had to comply with Softbank’s demands by,

among other things, signing a proposed settlement agreement which would transfer to Softbank,

an insider of T Corp’s, over $10 million, ahead of countless third party creditors, while

extracting a release against all claims that T Corp could bring against it.

                   125.   Not content with threats of physical violence, Softbank also repeatedly

threatened to drive T Corp into bankruptcy unless it executed the settlement agreement. These




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threats of physical and economic harm caused Mr. Amanat and T Corp to execute the settlement

agreement. Under the agreement, T Corp was required to obtain a loan in the maximum possible

amount based on T Corp pledging to a lender the 7 million shares of E*Trade stock that were

free from the restrictions of the Lockup Agreement. The settlement agreement also required T

Corp to issue two new promissory no tes, with a combined principal of $16,119,088.57, to

Softbank. Each note was payable “as soon as practicable” after the earlier of three possible

dates: (i) December 31, 2003; (ii) the first date after the execution of a definitive agreement on

which the 10 day average trailing closing price of E*Trade Common Stock is at or above $6.50

per share; or (iii) the date that a global settlement with E*Trade is reached which allows for the

immediate termination of the lockup agreement.

                   126.   While these settlement terms were incredibly onerous, in light of

Softbank’s misconduct and unlawful threats T Corp was coerced, under duress, to execute the

agreement in late January 2003. By virtue of the circumstances in which T Corp executed the

settlement agreement – namely, in conjunction with Softbank’s threats of physical violence and

economic harm – the settlement agreement is null and void and the release given to Softbank

therein is invalid.

10.     E*Trade And Softbank Tortuously Interfere With T Corp’s Ability To Obtain
        Financing

                   127.   Then, in March 2003, after the Softbank settlement described above (and

outside the scope of the release contained therein, which in any event was procured through

fraud and duress and thus is invalid), Softbank and E*Trade engaged in fur ther misconduct

directed at T Corp.

                   128.   Just after the January settlement agreement was executed T Corp

attempted to obtain financing from almost every investment bank on Wall Street, including


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Deutsche Bank, Credit Suisse First Boston and Smith Barney, scouring the industry to find

anyone willing to provide a loan to pay off Softbank. The financial institutions contacted by Mr.

Amanat all initially agreed to provide loans, subject to speaking with E*Trade’s counsel about

the restrictions that were placed on T Corp’s E*Trade shares. However, each time E*Trade’s

counsel spoke to one of the potential lenders that lender would immediately call off the loan

citing unresolved disputes between E*Trade and T Corp (that E*Trade had brought to their

attention).    E*Trade successfully torpedoed each of these loans by telling the financial

institutions that it might “pull the registration statement” on T Corp’s E*Trade shares – which

were T Corp’s only source of collateral – at any time. According to Bryan Stepanian, a

representative of Deutsche Bank, Deutsche Bank spent over $80,000 in legal fees attempting to

do a loan for T Corp only to be told by E*Trade’s counsel that it would not enable Deutsche

Bank to do a loan for T Corp and that E*Trade had “$50 million in claims against T Corp.”

                   129.   After searching the industry for an entity that could provide it with a loan,

and faced with increased pressure from Softbank to pay it off, T Corp finally negotiated and

signed an agreement to obtain a $12 million loan from Empyrean Inve stment Fund, LLP

(“Empyrean”) to partially pay off its debt to Softbank (roughly $11.6 million of the funds were

supposed to be paid to Softbank). The intent of T Corp and Empyrean to enter into this loan was

memorialized in a Pledge Agreement dated March 28, 2003. As security for the loan T Corp

pledged the 6,700,000 E*Trade shares that were not subject to any of the restrictions of the

Lock-Up Agreement or the Escrow Agreement. However, on March 28, after Softbank, T Corp

and Empyrean had all signed off on the loan, E*Trade, which was concerned that T Corp was

finally about to gain access to capital and begin to fend for itself, attempted to prevent the deal

from going forward on the agreed-upon terms. In a conference call between Mitch Caplan, CEO

of E*Trade, Russ Elmer, General Counsel for E*Trade, Rauf Ashraf, General Partner of


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Empyrean, and outside counsel for Softbank, Mr. Caplan and Mr. Elmer did everything in their

power to ensure either that T Corp did not obtain the loan or obtained it on significantly more

onerous terms.

                   130.   Thus, the representatives of E*Trade on the call repeatedly defamed and

insulted Mr. Amanat’s character (as witnessed by Joseph Lerner from CS First Boston and Mr.

Amanat himself), and specifically stated that Mr. Amanat was certain to default on the loan. For

example, Mitch Caplan stated:

                   We have an agreement with T Corp that we still want him to sign,
                   and there are other issues that you are not aware about. And
                   mostly because I have zero faith in Omar, I do not trust him. I am
                   convinced that he is going to default on the loan and I am sure he
                   is going to have 16 other creditors showing up on Monday, and
                   that you are going to be left holding the bag and we are all going to
                   be looking to you at the end of the day.

Later in the conversation Mr. Caplan further stated:

                   Well believe me- You don’t want to get involved in this mess:
                   Trust me. You have no idea what you are getting yourself into.
                   You do not want to be involved with Omar. I have zero faith in
                   Omar. I do not trust him. He is a bad guy. If I were you I would
                   not have any involvement with him.

                   131.   After Empyrean’s Mr. Ashraf exited the call, Mr. Caplan confirmed

defendants’ wrongdoing:

                   Well, its sounds like if Tradescape is only receiving a small
                   amount of money then maybe we can be comfortable with it. After
                   this is resolved, Tradescape will still not be able to survive on its
                   own so we can continue to try to get a global settlement that makes
                   both of us happy. I do not want Tradecape receiving funds from
                   this loan.

Outside counsel for Softbank, and its representative in virtually all meetings and dealings with T

Corp, then responded:

                   Don’t worry. We’ve got Omar on a very tight leash and he will
                   have no choice but to accept a global settlement or face bankruptcy


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                   once again and you have Softbank’s commitment to see that
                   happen once this loan goes through.

                   132.   As a result of E*Trade and Softbank’s tortuous interference with T Corp’s

contractual and prospective economic relations with Empyrean (which initially refused to go

forward with the loan after hearing Mr. Caplan’s comments), T Corp was forced to renegotiate

the pledge agreement with Empyrean on substantially less favorable terms. While the original

agreement called for a one year loan with an interest rate of 8% and no prepayment penalty, the

new loan had a 19% interest rate, a four year term, substantial prepayment penalties, and a collar

price of $4.50/share on most of the E*Trade stock.

                   133.   Having been forced to take the loan on these onerous terms, virtually all

the proceeds of the loan were paid to Softbank.         Based on a loan to value ratio of 50%,

Empyrean initially loaned T Corp approximately $12 million based on T Corp’s pledge of

6,700,000 million E*Trade shares.        T Corp then paid Softbank $11.7 million and Appleby

Capital $200,000 with these funds, leaving T Corp with only $100,000.

11.     E*Trade Misappropriates T Corp. Equipment And Mail

                   134.   In May 2003 T Corp first became aware that E*Trade had unlawfully

taken possession of T Corp equipment that had been stored in a warehouse shared with E*Trade.

On May, 19, 2003, Bill Bohm, a MarketXT employee, went to the storage facility to conduct an

inventory of the equipment being stored there. Upon arrival, Mr. Bohm was informed by the

warehouse manager that E*Trade had sent a representative to the facility two months earlier to

conduct an inspection. Immediately after that inspection Jim Hurtado of E*Trade called the

warehouse and demanded that three cartons of expensive trading telephone equipment be sent to

E*Trade at 135 East 57th Street, even though the equipment indisputably belonged to MarketXT.

Mr. Bohm also discovered that telephone turrets, high-end trading technology, a Sub-Zero




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refrigerator and a large number of expensive trading desks, among other things, were missing

from the storage facility. All told, the missing assets had a fair market value of approximately

$750,000.

                   135.   On May 19, 2003, Mr. Bohm confronted Mr. Hurtado about E*Trade’s

unlawful possession of MarketXT’s property. Mr. Hurtado first claimed that he had not taken

the equipment.       Then he claimed that he had only asked the warehouse to send him the

equipment so he could determine if E*Trade should use a similar phone system. Finally Mr.

Hurtado claimed that he had never received the equipment from the storage facility, and that he

was not responsible for any loss of equipment. Notwithstanding the inconsistent positions taken

by Mr. Hurtado during that conversation, E*Trade clearly deprived T Corp of the opportunity to

use or sell that equipment for approximately two months, for no other reason than to inflict

injury on T Corp (which in fact had located a buyer that was willing to pay several hundred

thousand dollars for the telephone equipment ).

                   136.   E*Trade also engaged in a policy of unlawfully opening mail addressed to

T Corp, MarketXT, Mr. Amanat and John Araneo (T Corp’s General Counsel) even after it was

warned not to do so on multiple occasions. Specifically, T. Corp sent E*Trade three e-mails (on

May 30, 2003, June 12, 2003, and June 30, 2003), as well as one letter (dated July 25, 2003)

demanding that E*Trade cease this unlawful conduct. For instance, on June 30, 2003, John

Araneo of T Corp sent Stephen Ehrlich an e- mail stating that “I have been advised that our mail

(i.e. mail addressed to T Corp., Tradescape Corp., MarketXT, Omar Amanat and my own

personal mail) continues to be opened by ET personnel. We have taken steps to stop our mail

from being delivered to your office and expect this to stop in the near future. However, can you

please direct your staff to NOT open any mail addressed to: (T Corp., or any of its predecessor




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entities (not owned by E*Trade); (ii) Omar Amanat; (iii) John T. Araneo or (iv) any other

individual working with T Corp. or MarketXT, Inc.?”

                   137.   This illegal course of conduc t persisted for at least two months, during

which time E*trade opened general business correspondence, personal mail, confidential

regulatory correspondence, as well as privileged and confidential mail from T Corp’s outside

attorneys. T Corp sent E*Trade no less than four separate warnings to cease and desist this

course of conduct, and E*Trade’s only response was a typically dismissive e- mail from Mr.

Ehrlich on July 1, 2003, in which he stated: “We will do the best that we can in sorting the mail.”

 FIRST CAUSE OF ACTION - FRAUD IN THE SALE OF SECURITIES BY E*TRADE,
   JARRETT LILIEN, MITCHELL CAPLAN, STEPHEN EHRLICH AND RONALD
                               FISHER

                   138.   Plaintiffs repeat and reallege each and every allegation set forth in

paragraphs 1 through 137 as if set forth fully herein.

                   139.   Rule 10b-5 provides that "[i]t shall be unlawful for any person, directly or

indirectly, by the use of any means or instrumentality of interstate commerce, or of the mails or

of any facility of any national securities exchange, (a) To employ any device, scheme, or artifice

to defraud, (b) To make any untrue statement of a material fact or to omit to state a material fact

necessary in order to make the statements made, in the light of the circumstances under which

they were made, not misleading, or (c) To engage in any act, practice, or course of business

which operates or would operate as a fraud or deceit upon any person, in connection with the

purchase or sale of any security."

                   140.   As described above, E*Trade, Jarrett Lilien, Mitchell Caplan, Stephen

Ehrlich and Ronald Fisher (the “E*Trade Defendants”), directly and indirectly, by the means of

instrumentalities of interstate commerce and the mails, engaged and participated in a continuous




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course of conduct to misrepresent information regarding E*Trade, and to knowingly and

intentionally conceal from T Corp adverse material information about E*Trade and its financial

condition, including the exorbitant compensation of its Chief Executive Officer, so as to be

permitted to participate in the auction for Tradescape and to induce T Corp to sell to E*Trade.

E*Trade had a duty to disclose to T Corp the terms of Mr. Cotsakos’ compensation and all other

material information concerning E*Trade.

                   141.   The E*Trade Defendants acted with scienter. Even though they knew of

Mr. Cotsakos’ outrageous compensation package and other non-public information regarding

E*Trade during the merger negotiations, the E*Trade Defendants knowingly and intentionally

concealed that and other information from T Corp, including Cotsakos’ involvement in the

E*Trade business and E*Trade’s willingness permit Mr. Amanat to run the Momentum business

post-acquisition, in order to induce T Corp to allow E*Trade to participate in the auction and to

sell the Acquired Companies to E*Trade in exchange for E*Trade stock.

                   142.   Ronald Fisher, the Vice-Chairman of Softbank Holdings, Inc., was a

member of the E*Trade Board of Directors, and served on the Board’s compensation committee.

Thus Softbank, through Mr. Fisher (who Softbank had appointed to the E*Trade Board), had

knowledge of Mr. Cotsakos’ extravagant compensation package prior to the execution of the

Merger Agreement and indeed benefited from the compensation package by having $15 million

of it used to purchase Softbank stock in a private transaction.

                   143.   T Corp relied on the foregoing misstatements and omissions in entering

into the Merger Agreement and purchasing E*Trade stock in exchange for the Acquired

Companies. Had E*Trade accurately disclosed this material information prior to the execution

of the Merger Agreement, T Corp never would have entered into the Merger Agreement with

E*Trade.


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                   144.   These misstatements and omissions plainly were material, as evidenced

by, among other things, the fact that the price of E*Trade stock fell by approximately 20% in the

ten days following the disclosure of Cotsakos’ compensation arrangements, and another 30%

before Cotsakos resigned from the company in January 2003.

                   145.   Plaintiffs have suffered damages as a result of the foregoing misconduct.

  SECOND CAUSE OF ACTION - COMMON LAW FRAUD BY E*TRADE, JARRETT
   LILIEN, MITCHELL CAPLAN, STEPHEN EHRLICH, SOFTBANK, SOFTBANK
               CORP., RONALD FISHER AND MASAYOSHI SON

                   146.   Plaintiffs repeat and reallege each and every allegation set forth in

paragraphs 1 through 145 as if set forth fully herein.

                   147.   During the negotiations leading up to the execution of the Merger

Agreement on April 10, 2002, the Defendants, directly and indirectly, engaged and participated

in a continuous course of conduct to misrepresent information regarding E*Trade, and to conceal

adverse material information about E*Trade and its financial condition, including the exorbitant

compensation of its Chief Executive Officer so as to be permitted to participate in the auction for

Tradescape and to induce T Corp to sell to E*Trade. E*Trade had a duty to disclose to T Corp

the terms of Mr. Cotsakos’ compensation and all other material information concerning E*Trade

because a special relationship existed between E*Trade and T Corp since E*Trade’s aim was to

induce T Corp to sell its subsidiaries to E*Trade in exchange for E*Trade stock.

                   148.   The Defendants acted intentionally in making the false statements and

omissions described herein. Even though they knew of Mr. Cotsakos’ outrageous compensation

package and other material information regarding E*Trade during the merger negotiations, the

Defendants knowingly and intentionally concealed that and other information from T Corp,

including Cotsakos’ involvement in the business and E*Trades willingness to permit Mr.




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Amanat to run the Momentum business post-acquisition, in order to induce T Corp to enter into

the Merger Agreement and to sell the Acquired Companies to E*Trade in exchange for E*Trade

stock.

                   149.   T Corp relied on the foregoing misstatements and omissions in entering

into the Merger Agreement and purchasing E*Trade stock in exchange for the Acquired

Companies. Had E*Trade accurately disclosed this material information prior to the execution

of the Merger Agreement, T Corp never would have entered into the Merger Agreement with

E*Trade.

                   150.   These misstatements and omissions plainly were material, as evidenced

by, among other things, the fact that price of E*Trade stock fell by approximately 20% in the ten

days following the disclosure of Cotsakos’ compensation arrangements, and another 30% before

Cotsakos resigned from the company in January 2003.

                   151.   Son, Softbank and Softbank Corp. conspired with E*Trade by agreeing

with E*Trade to conceal the information described herein from T Corp. For instance, Son,

Softbank and Softbank Corp., through Ronald Fisher (a member of Softbank senior management

and an E*Trade Board member), knew of Mr. Cotsakos’ compensation package, but helped

conceal that information from T Corp. Mr. Fisher served on the Board of Directors of E*Trade,

and was appointed to E*Trade’s compensation committee prior to the public disclosure of Mr.

Cotsakos’ compensation. Softbank was also a beneficiary of Cotsakos’ excessive pay package as

$15 million of the compensation was used to purchase stock from Softbank in a private

transaction.

                   152.   Defendants’ conduct was gross, wanton and willful.

                   153.   Plaintiffs have suffered damages as a result of the foregoing misconduct.




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 THIRD CAUSE OF ACTION – NEGLIGENT MISREPRES ENTATION BY E*TRADE,
   JARRETT LILIEN, MITCHELL CAPLAN, STEPHEN EHRLICH AND RONALD
                              FISHER

                   154.   Plaintiffs repeat and reallege each and every allegation set forth in

paragraphs 1 through 153 as if set forth fully herein.

                   155.   During the due diligence period (January- March 2002) E*Trade officials

directly represented to T Corp that E*Trade’s financial statements accurately portrayed its

financial condition at that time.

                   156.   E*Trade knew that T Corp desired all information relevant to E*Trade

because the merger consideration consisted entirely of E*Trade stock.

                   157.   A special relationship existed between E*Trade and T Corp, since

E*Trade’s “end and aim” in imparting the information was to induce T Corp to change its

position by entering into the Merger Agreement. Thus, E*Trade had a duty to use reasonable

care to impart correct information, and T Corp had the right to rely upon the information

presented by E*Trade.

                   158.   The E*Trade Defendants, had they exercised the degree of care that a

person of ordinary prudence would exercise, would not have made the misstatements discussed

herein. The E*Trade Defendants made such misstatements in breach of their duty to Plaintiffs.

                   159.   The representations made by E*Trade were false.

                   160.   T Corp relied upon these representations in deciding to accept E*Trade’s

offer to purchase the Tradescape subsidiaries.

                   161.   The value of the consideration received by T Corp declined substantially

when the falsity of these representations was revealed.

                   162.   Plaintiffs have suffered damages as a result of the foregoing misconduct.




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     FOURTH CAUSE OF ACTION- BREACH OF CONTRACT BY E*TRADE, TTH
             ACQUISITION CORP. AND MHI ACQUISITION CORP.

                   163.   Plaintiffs repeat and reallege each and every allegation set forth in

paragraphs 1 through 162 as if set forth fully herein.

                   164.   The Merger Agreement is a valid and enforceable contract between

E*Trade and T Corp.

                   165.   Shortly after closing the merger E*Trade instituted a policy of denying

rebate payments to Momentum customers who used the MarketXT ECN. E*Trade also directed

employees not to use MarketXT and required customers not to accept rebates from MarketXT.

This destroyed the profitable relationship that existed between Momentum and MarketXT,

denying Momentum approximately $2-3 million per month in rebates from MarketXT. Len

Purkis, a high level E*Trade executive, confirmed E*Trade’s intent when he stated that E*Trade

was not going to finance Momentum and MarketXT’s business model.

                   166.   Moreover, knowing that Mr. Amanat’s expertise and leadership were

critical to Momentum’s ability to meet the Earn-Out goals, E*Trade terminated Mr. Amanat

without cause, and in violation of the Management Retention Agreement.

                   167.   This and other conduct violated the Merger Agreement, including: (i)

Schedule 1.18(e)(g) of the Merger Agreement, which provides that “Parent shall use its

commercially reasonable efforts to refrain from taking any action which would impair the ability

of Target Companies to reach the Target Revenue and Net Income thresholds established

pursuant to the agreement;” and (ii) Schedule 1.18(e)(c), which provides that “Parent shall

permit the Target Companies to operate and conduct their business and development activities in

the ordinary course, consistent with past practice.”




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                   168.   T Corp has suffered damages as a result of the material breaches of

contract described herein.

      FIFTH CAUSE OF ACTION - BREACH OF CONTRACT BY E*TRADE, TTH
              ACQUISITION CORP. AND MHI ACQUISITION CORP.

                   169.   Plaintiffs repeat and reallege each and every allegation set forth in

paragraphs 1 through 168 as if set forth fully herein.

                   170.   The Merger Agreement is a valid and enforceable contract between

E*Trade and T Corp.

                   171.   Pursuant to Section 5.1(i) of the Merger Agreement, E*Trade was

obligated to “use its commercially reasonable efforts to file the Registration Statement as soon as

practicable after the Effective Time, but in no even later than 120 days after the Effective Time”.

                   172.   The Effective Time is defined in Section 1.2 of the Merger Agreement as

the date on which the Certificate of Merger was filed with the Delaware Secretary of State. This

certificate was filed on June 3, 2002, the closing date of the merger.

                   173.   E*Trade breached the Merger Agreement because it did not use

“commercially reasonable efforts” to file the registration statement “as soon as practicable after

the Effective Time”. Nor did E*Trade comply with its mandate to file within 120 days of the

effective date of the merger. E*Trade did not file the Registration Statement until November 26,

2002, approximately 176 days after the Effective Time.

                   174.   T Corp has suffered damages as a result of the material breaches of

contract described herein.

          SIXTH CAUSE OF ACTION - BREACH OF CONTRACT BY E*TRADE

                   175.   Plaintiffs repeat and reallege each and every allegation set forth in

paragraphs 1 through 174 as if set forth fully herein.


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                   176.   The Standstill Agreement, executed on September 13, 2002, is a valid and

enforceable contract between E*Trade and T Corp.

                   177.   Under Section 3.2 of the Standstill Agreement, E*Trade had an obligation

to return all of T Corp’s hardware and software “as soon as reasonably practicable following the

Closing date (but no later than 5:00 p.m., Friday, September 20th , 2002).” E*Trade breached the

Standstill Agreement because it did not deliver the necessary equipment on September 20.

Instead, E*Trade intentionally deprived T Corp of access to the hardware and software for as

long as possible.

                   178.   E*Trade also breached Section 1.6 of the Standstill Agreement, which

imposed a duty upon E*Trade to post an acceptable letter of credit no later than September 23,

2002 to 135 East 57th Street LLC in respect of a lease for office space at that location. E*Trade

did not post such letter of credit by September 23, and therefore deprived T Corp of the $2.2

million security deposit it had originally posted for the lease.

                   179.   T Corp has suffered damages as a result of the material breaches of

contract described herein.

       SEVENTH CAUSE OF ACTION - INTERFERENCE WITH CONTRACTUAL
         RELATIONS AND PROSPECTIVE ECONOMIC ADVANTAGE BY ALL
                             DEFENDANTS

                   180.   Plaintiffs repeat and reallege each and every allegation set forth in

paragraphs 1 through 179 as if set forth fully herein.

                   181.   T Corp negotiated a pledge agreement with Empyrean in March 2003.

That agreement would have provided T Corp with a one year loan for approximately $12-$13

million dollars. The interest rate on the loan was 8%.




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                   182.   While Softbank initially asked E*Trade to allow the loan to go through,

Softbank eventually conspired with E*Trade to make sure that T Corp did not receive any

benefits thereunder.

                   183.   When Defendants learned about the pledge agreement they immediately

contracted Empyrean. During a conference call in March, E*Trade and Softbank representatives

slandered Mr. Amanat’s business reputation and discouraged Empyrean from consummating a

loan on the terms set forth in the pledge agreement. Mitch Caplan, then the CEO of E*Trade,

specifically stated that Mr. Amanat and T Corp were certain to default on the loan.

                   184.   After the Empyrean representative exited the call, Mr. Caplan and outside

counsel for Softbank indicated that it was their shared intent to deprive T Corp of any proceeds

from the loan and extract a settlement from T Corp.

                   185.   E*Trade and Softbank had no business justification for interfering in the

loan transaction. Their sole intention was to injure T Corp and prevent it from achieving the

Earn-Out targets.

                   186.   As a result of E*Trade and Softbank’s misconduct, Empyrean renegotiated

the loan on terms much less favorable to T Corp. The new agreement called for a four year loan,

with a 19% interest rate, substantial prepayment penalties, and a collar at $4.50/share.

                   187.   The E*Trade Defendants also tortuously interfered with a loan

commitment T Corp obtained in August 2002 from IIG. As a condition to executing that $7

million loan, IIG demanded that T Corp demonstrate that MarketXT had access to a data center.

                   188.   Even though E*trade and T Corp had agreed to share the data center until

at least September 30, 2002, the E* Trade Defendants prevented MarketXT from accessing the

network or the data center after August 26, thus preventing T Corp from obtaining any financing

from IIG.


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                   189.   T Corp has suffered damages as a result of the misconduct described

herein.

 EIGHTH CAUSE OF ACTION_- BREACH OF COVENANT OF GOOD FAITH AND
FAIR DEALING BY E*TRADE, JARRETT LILIEN, MITCHELL CAPLAN, STEPHEN
                   EHRLICH AND RONALD FISHER

                   190.   Plaintiffs repeat and reallege each and every allegation set forth in

paragraphs 1 through 189 as if set forth fully herein.

                   191.   The Merger Agreement is a valid and enforceable contract between

E*Trade and T Corp. Implied in all contracts in Delaware is a covenant of good faith and fair

dealing.

                   192.   Under the Merger Agreement, T Corp had the right to receive a contingent

payment of E*Trade stock valued at the time at $180 million dollars. The payment of this

additional consideration was based on Momentum’s ability to meet certain revenue thresholds in

2002 and 2003.

                   193.   E*Trade frustrated Plaintiffs’ purpose in entering into the Merger

Agreement by, among other things, engaging in misconduct, the goal of which was to deny T

Corp the Earn-Out.

                   194.   In July 2002 E*Trade terminated Mr. Amanat without “cause”, even

though it previously had acknowledged how important Mr. Amanat was to Momentum’s ability

to achieve the Earn-Out thresholds.           E*Trade also terminated Momentum’s two most

experienced technologists soon after the merger, allowing them to defect to rival companies in

the industry. These defections led many profitable clients to leave Momentum, further damaging

its ability to obtain the Earn-Out.




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                   195.   Even after his termination, Mr. Amanat contacted several entities,

including Paloma Partners, Fountainhead Capital, Millennium Partners, Maple Row Partners,

Stark Investments, and Essex Asset Management about bringing their business to Momentum.

                   196.   Mr. Amanat was able to convince several of these entities to bring

significant order flow to Momentum. However, E*Trade refused to enter into at least one such

transaction, and refused to even meet with or consider several others.

                   197.   These new business opportunities would have enabled Momentum to

achieve the thresholds established in the Earn-Out provision, which would have entitled T Corp

to the contingent consideration.

                   198.   E*Trade also eliminated a key source of Momentum revenues by forcing

all Momentum customers to sign a document terminating any further rights to MarketXT rebates.

This deprived Momentum of $2-3 million in revenues per month, and diminished Momentum’s

ability to receive the Earn-Out.

                   199.   Through all of these actions E*Trade frustrated T Corp’s ability to realize

the benefit of its bargain in connection with the Merger Agreement, in breach of the implied

covenant of good faith and fair dealing.

                   200.   T Corp has suffered damages as a result of E*Trade’s material breaches of

the covenant of good faith and fair dealing in the Merger Agreement.

                   NINTH CAUSE OF ACTION – CONVERSION BY E*TRADE

                   201.   Plaintiffs repeat and reallege each and every allegation set forth in

paragraphs 1 through 200 as if set forth fully herein.

                   202.   T Corp and MarketXT were the legal owners of various pieces of

hardware and software housed in the data center that was supposed to be shared by E*Trade and

T Corp. The E*Trade Defendants intentionally exercised dominion and control over, and


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improperly denied Plaintiffs of the use of their property, i.e. the hardware, software and

equipment.

                   203.   The E*Trade Defendants also unlawfully removed certain property which

was owned by T Corp from a shared storage warehouse.

                   204.   T Corp has suffered damages as a result of the intentional misconduct

described herein.

  TENTH CAUSE OF ACTION – BREACH OF FIDUCIARY DUTY BY SOFTBANK,
  SOFTBANK CORP., MASAYOSHI SON, RONALD FISHER, ROBERT TAKEUCHI
                       AND SHINJI YAMAUCHI

                   205.   Plaintiffs repeat and reallege each and every allegation set forth in

paragraphs 1 through 204 as if set forth fully herein.

                   206.   Softbank and Softbank Corp. owed a fiduciary duty to T Corp and its

stockholders. This fiduciary duty arose from, among other things, the facts that Softbank: (i)

appointed two representatives to the Board of Directors of T Corp, and had its outside counsel

attend all meetings of the T Corp Board, thereby gaining access to non-public information

regarding T Corp.; (ii) demanded, and had access to, various non-public T Corp financial

information, including consolidated statements of income and cash flow, pursuant to Section 10

of T Corp’s Stockholders’ Agreement, and (iii) controlled T Corp’s ability to sell the Acquired

Companies through Softbank’s lien on T Corp’s intellectual property and ownership of almost all

of T Corp’s preferred stock. Masayoshi Son and Ronald Fisher had a fiduciary duty to T Corp

because they had access, through the Softbank representatives designated to the T Corp Board, to

non-public information relating to T Corp. Takeuchi and Yamauchi had a fiduciary duty to T

Corp and its stockholders by virtue of their membership on T Corp’s Board of Directors.

                   207.   Softbank, Softbank Corp, Son, Takeuchi and Yamauchi breached their

fiduciary duties by the conduct described herein, including: (i) putting Softbank’s own financial


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interest ahead of T Corp’s in connection with the sale of the Acquired Companies to E*Trade,

obstructing T Corp’s ability to meet the Earn-Out requirements under the Merger Agreement,

interfering with T Corp’s ability to obtain financing, and assisting in efforts to harm MarketXT;

(ii) refusing to release Softbank’s lien on T Corp intellectual property in favor of a sale to any

entity other than E*Trade; (iii) threatening to put T Corp into bankruptcy if it did not close a

merger transaction with E*Trade; and (iv) threatening to physically harm Mr. Amanat unless he

caused T Corp to sign an onerous settlement agreement with Softbank.

                   208.   T Corp has suffered damages as a result of the breaches of fiduciary duty

described herein.

      ELEVENTH CAUSE OF ACTION – BREACH OF CONTRACT BY E*TRADE

                   209.   Plaintiffs repeat and reallege each and every allegation set forth in

paragraphs 1 through 208 as if set forth fully herein.

                   210.   The 1999 oral agreement between E*Trade and T Corp pursuant to which

E*Trade was to buy T Corp is a valid and enforceable contract.

                   211.   This oral contract required E*Trade to purchase the Acquired Companies

for $326 million.

                   212.   After nearly six months of reassuring Plaintiffs that a transaction would be

executed along the lines of the oral agreement reached between Mr. Cotsakos and Mr. Amanat,

E*Trade refused to consummate the transaction due to regulatory concerns related to Softbank’s

ownership interest in T Corp. No such contingency however, permitted E*Trade under the oral

agreement to not proceed due to the hypothetical concerns of regulators.

                   213.   By not purchasing T Corp at this time, E*Trade materially breached its

contractual commitment to T Corp.




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                   214.   Plaintiffs have suffered damages as a result of the material breaches of

contract described herein.

 TWELFTH CAUSE OF ACTION – PROMISSORY ESTOPPEL AGAINST E*TRADE,
                 SOFTBANK, AND SOFTBANK CORP.

                   215.   Plaintiffs repeat and reallege each and every allegation set forth in

paragraphs 1 through 214 as if set forth fully herein.

                   216.   In the event that E*Trade and T Corp did not enter into a binding contract

in 2000 whereby T Corp was to sell the Acquired Companies to E*Trade, then E*Trade,

Softbank and Softbank Corp., should be estopped from denying the existence of a contract.

                   217.   E*Trade representatives such as Christos Cotsakos, E*Trade’s then Chief

Executive Officer, made repeated clear, unambiguous promises to T Corp that E*Trade would

purchase the Acquired Companies on terms identical to the oral agreement.

                   218.   Similarly, Masayoshi Son, the President and Chief Executive Officer of

Softbank Corp., made clear, unambiguous promises to T Corp that if E*Trade did not honor its

oral contract, Softbank would give T Corp a put option to sell its business to Softbank for $326

million.

                   219.   Both E*Trade and Softbank reneged on their clear and unambiguous

promises and refused to purchase T Corp in 2000.

                   220.   In reliance on these promises T Corp forfeited the opportunity to sell itself

to other interested buyers for hundreds of millions of dollars.          T Corp also complied with

E*Trade’s requests: (i) not to issue options to any employees; (ii) to put a freeze on the hiring of

new employees; and (iii) not to enter into any strategic partnerships that would have grown the T

Corp business. All of these actions were undertaken by T Corp in expectation of closing a sale

to E*Trade, and each had an adverse effect on T Corp’s business.


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                   221.   E*Trade and Softbank intended and expected T Corp to rely on their

promises, and T Corp’s reliance on statements made by the two CEOs was reasonable and

foreseeable.

                   222.   Plaintiffs have suffered damages as a result of these misrepresentations.

     THIRTEENTH CAUSE OF ACTION – COMMON LAW FRAUD BY E*TRADE,
            SOFTBANK, SOFTBANK CORP. AND MASAYOSHI SON

                   223.   Plaintiffs repeat and reallege each and every allegation set forth in

paragraphs 1 through 222 as if set forth fully herein.

                   224.   During the six month period in 1999 in which T Corp negotiated the sale

of its business to E*Trade, E*Trade directly and indirectly, engaged in a continuous course of

conduct to conceal material adverse information about E*Trade, including the fact that federal

banking regulators from the Office of Thrift Supervision were concerned about Softbank’s

ownership interest in E*Trade.

                   225.   During this interval, E*Trade was also actively pursuing an acquisition of

Telebanc. Unbeknownst to T Corp, the Telebanc acquisition was being delayed (for nearly a

year) by OTS regulators who were concerned about the undue influence of a foreign entity

(Softbank, which owned approximately 25% of E*Trade) over a domestic bank.

                   226.   Mr. Cotsakos repeatedly represented to Mr. Amanat during this period that

the delay in the Telebanc acquisition was caused only by standard due diligence issues. Mr.

Cotsakos never once revealed that the real reason for the delay was Softbank’s ownership

interest in E*Trade.

                   227.   E*Trade, Softbank, Softbank Corp. and Son acted intentionally in making

the false statements and omissions described herein. Even though they knew that regulatory

issues were the real reason for the delay in the Telebanc acquisition, and that similar regulatory


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concerns would prevent E*Trade from acquiring T Corp (because of Softbank’s substantial

ownership interest in both companies), E*Trade, Softbank, Softbank Corp. and Son intentionally

concealed that information from T Corp in order to induce it to forego the other acquisition

offers it had received.

                   228.   In addition, in this period Son stated that he and Softbank were so

confident that E*Trade would purchase Tradescape that Softbank would give T Corp a put

option requiring Softbank to purchase Tradescape for $326 million if E*Trade failed to honor its

commitments. This statement was knowingly false. Softbank and Son never had any intention of

honoring such a put option, and in fact they never have.

                   229.   T Corp relied on these misstatements and omissions in rejecting other

acquisition offers (from Ameritrade and Schwab) and continuing to negotiate in good faith with

E*Trade. Had E*Trade disclosed the fact that regulatory issues were preventing the Telebanc

acquisition from closing, T Corp would not have continued to negotiate with E*Trade.

                   230.   These misstatements and omissions were plainly material, as they related

to E*Trade’s ability to consummate the acquisition of T Corp.

                   231.   Mr. Amanat learned only after E*Trade reneged on its promises to buy T

Corp that the same regulatory issues that delayed the Telebanc acquisition were also the reason

why E*Trade did not purchase T Corp.

                   232.   Defendants conduct was gross, wanton and willful.

                   233.   Plaintiffs have suffered damages as a result of the foregoing misconduct.




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                                       JURY TRIAL DEMAND

                   Plaintiffs hereby demand a trial by jury.




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